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                                                                     CASE JACKET
                                                               User:BARUCH GOTTESMAN
                                                       Docket Number: BER L 003840 - 21
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                                                      Case Caption: Gruenbaum Tamar Vs Levine Josh
     Court: Civil Part                                            Venue: Bergen                            Case Initiation Date: 06/14/2021
     Case Type: Contract/Commercial Transaction                   Case Status: Reinstated                  Jury Demand: 12 Jurors
     Case Track: 2                                                Judge: Robert C Wilson                   Team: 2
     # of Discovery Days: 300                                     Age of Case: 00 YR 04 MO                 Consolidated Case: Y
     Original Discovery End Date:                                 Current Discovery End Date:              # of DED Extensions: 0
     Original Arbitration Date:                                   Current Arbitration Date:                # of Arb Adjournments: 0
     Original Trial Date:                                         Current Trial Date:                      # of Trial Date Adjournments: 0
     Disposition Date: 10/08/2021                                 Case Disposition: Reinstated             Statewide Lien:

     Plaintiffs (2)           Defendants (3)             Case Proceedings (4)               ACMS Documents (11)                   Fees (11)


                                                         Tamar Gruenbaum Dds,Llc                    AKA

                                                                 Tamar Gruenbaum


                                                                 Case Actions
                                                                                                                                                  Entry
 Filed Date Filings                                               Docket Text                                                Transaction ID
                                                                                                                                                  Date
                      Complaint with Jury Demand for BER-L-003840-21 submitted by GARBER, BENJAMIN ALEX,
 06/14/2021           BRAVERMAN KASKEY PC on behalf of TAMAR GRUENBAUM, TAMAR GRUENBAUM DDS,                                LCV20211437649 06/14/2021
                      LLC against JOSH LEVINE, JOSH LEVINE CPA P.C., EHCM LLC

 06/15/2021           TRACK ASSIGNMENT Notice submitted by Case Management                                                  LCV20211438320 06/15/2021

                      CLERK NOTICE: re: Complaint [LCV20211437649] -Please be advised that ACMS has been updated
 06/15/2021                                                                                                               LCV20211439011 06/15/2021
                      to reflect DTC as indicated on the complaint.
                      CLERK NOTICE: re: Complaint [LCV20211437649] -The data entered in eCourts (data) does not
 06/15/2021           match the information contained in the document(s). In order to correct data, a motion must be made LCV20211439012 06/15/2021
                      pursuant to R. 1:5-6.
                      AFFIDAVIT OF SERVICE submitted by GARBER, BENJAMIN, ALEX of BRAVERMAN KASKEY
 07/08/2021                                                                                        LCV20211615907 07/08/2021
                      PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM against JOSH LEVINE
                      AFFIDAVIT OF SERVICE submitted by GARBER, BENJAMIN, ALEX of BRAVERMAN KASKEY
 07/08/2021           PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM against JOSH LEVINE LCV20211615931 07/08/2021
                      CPA P.C.
                      AFFIDAVIT OF SERVICE submitted by GARBER, BENJAMIN, ALEX of BRAVERMAN KASKEY
 07/08/2021                                                                                        LCV20211615940 07/08/2021
                      PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM against EHCM LLC
                      REQUEST FOR DEFAULT submitted by GARBER, BENJAMIN, ALEX of BRAVERMAN KASKEY
 07/27/2021           PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM against JOSH LEVINE, LCV20211752376 07/27/2021
                      EHCM LLC, JOSH LEVINE CPA P.C.
 07/27/2021           Default has been entered against the following party/parties: JOSH LEVINE     LCV20211757386 07/27/2021
 07/27/2021           Default has been entered against the following party/parties: JOSH LEVINE CPA P.C.                    LCV20211757387 07/27/2021



https://portal.njcourts.gov/webcivilcj/CIVILCaseJacketWeb/pages/civilCaseSearch.faces                                                            Page 1 of 2
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 07/27/2021         Default has been entered against the following party/parties: EHCM LLC                                LCV20211757388 07/27/2021

                    MOTION FOR DEFAULT (OUT OF TIME) submitted by GARBER, BENJAMIN, ALEX of
 08/10/2021         BRAVERMAN KASKEY PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR                                       LCV20211861681 08/10/2021
                    GRUENBAUM against JOSH LEVINE, EHCM LLC, JOSH LEVINE CPA P.C. *LINKED FILING*
                    The motion filed on 08/10/2021 will be decided on 08/27/2021. Do not come to the courthouse because
 08/11/2021         no oral argument has been requested. The court's decision will be provided to you. Re: MOTION FOR     LCV20211864396 08/11/2021
                    DEFAULT (OUT OF TIME) [LCV20211861681]
                    OPPOSITION TO MOTION submitted by GOTTESMAN, BARUCH, S of BARUCH S.
 08/27/2021         GOTTESMAN, ESQ. on behalf of JOSH LEVINE, EHCM LLC, JOSH LEVINE CPA P.C. against                      LCV20211986386 08/27/2021
                    TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM *LINKED FILING*
                    MOTION TO CONSOLIDATE CASES submitted by GOTTESMAN, BARUCH, S of BARUCH S.
 08/27/2021         GOTTESMAN, ESQ. on behalf of JOSH LEVINE, EHCM LLC, JOSH LEVINE CPA P.C. against                      LCV20211986388 08/27/2021
                    TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM *LINKED FILING*
                    The motion filed on 08/27/2021 will be decided on 09/24/2021. Do not come to the courthouse because
 08/27/2021         no oral argument has been requested. The court's decision will be provided to you. Re: MOTION TO      LCV20211990219 08/27/2021
                    CONSOLIDATE CASES [LCV20211986388]
                    ORDER DEFAULT (OUT OF TIME)-Granted by Judge WILSON, ROBERT, C re: MOTION FOR
 08/27/2021                                                                                                               LCV20211991713 08/27/2021
                    DEFAULT (OUT OF TIME) [LCV20211861681]
 08/27/2021         Default has been entered against the following party/parties: JOSH LEVINE                             LCV20211997218 08/27/2021
 08/27/2021         Default has been entered against the following party/parties: JOSH LEVINE CPA P.C.                    LCV20211997220 08/27/2021
 08/27/2021         Default has been entered against the following party/parties: EHCM LLC                                LCV20211997222 08/27/2021
                    The motion filed on 08/27/2021 was rescheduled to 09/24/2021. Do not come to the courthouse because
 09/08/2021         no oral argument has been requested. The court's decision will be provided to you. Re: MOTION TO      LCV20212078539 09/08/2021
                    CONSOLIDATE CASES [LCV20211986388]
                    OPPOSITION TO MOTION submitted by GARBER, BENJAMIN, ALEX of BRAVERMAN
 09/15/2021         KASKEY PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM against                               LCV20212144959 09/15/2021
                    JOSH LEVINE, EHCM LLC, JOSH LEVINE CPA P.C. *LINKED FILING*
                    The motion filed on 08/27/2021 was rescheduled to 09/24/2021. Do not come to the courthouse because
 09/22/2021         no oral argument has been requested. The court's decision will be provided to you. Re: MOTION TO      LCV20212203705 09/22/2021
                    CONSOLIDATE CASES [LCV20211986388]
                    ORDER CONSOLIDATE CASES-Granted by Judge WILSON, ROBERT, C re: MOTION TO
 10/08/2021                                                                                                               LCV20212354231 10/08/2021
                    CONSOLIDATE CASES [LCV20211986388]
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BRAVERMAN KASKEY GARBER PC
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I.D. No. 011382009
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1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                    Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                 SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                    JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                      BERGEN COUNTY
  385 S Maple Ave, #107
  Glen Rock, NJ 07452                       Docket No. ___________
                    Plaintiffs,
                                            COMPLAINT AND JURY DEMAND
                v.                          DESIGNATION OF TRIAL
                                            COUNSEL, AND CERTIFICATIONS
  JOSH LEVINE, CPA                          UNDER RULES 1:38-7(b) and 4:5-1
  135 Rockaway Turnpike, Suite 111,
  Lawrence, NY 11559; and

  JOSH LEVINE CPA P.C. d/b/a LEVINE
  & ASSOCIATES,
  135 Rockaway Turnpike, Suite 111,
  Lawrence, NY 11559; and

  EHCM LLC
  123 Grove Ave
  Suite 101
  Cedarhurst, NY 11516
                     Defendants.

      Plaintiffs Tamar Gruenbaum, DDS (“Dr. Gruenbaum”) and Tamar

Gruenbaum DDS, LLC d/b/a Ridgewood Valley Pediatric Dentistry (the “Practice”),

by and through their undersigned counsel, brings this Complaint against

defendants Josh Levine, CPA, Josh Levine CPA P.C. d/b/a Levine & Associates, and

EHCM LLC (collectively, the “defendants”), as follows:
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                           PRELIMINARY STATEMENT

       1.     Dr. Gruenbaum is the owner of a local pediatric dental practice.

Defendants were engaged for purposes of providing accounting and tax related

services to plaintiffs.

       2.     Among other things, defendants agreed to handle all the Practice’s

accounting and tax needs, including, but not limited to, preparing, and timely filing

all federal and state tax returns, handling its payroll taxes, maintaining its

QuickBooks, and preparing quarterly profit and loss statements. Defendants were

also engaged as Dr. Gruenbaum’s personal accountant.

       3.     However, defendants’ services were utterly deficient. Defendants

failed to act in plaintiffs’ best interests, and their services were procured through

defendants’ misrepresentations as to their qualifications and abilities.

       4.     Defendants’ acts and omissions, as alleged herein, have, and continue

to cause substantial financial harm to plaintiffs and give rise to the claims asserted

herein for breach of contract, breach of fiduciary duty, fraud, conversion, and unjust

enrichment, among others.

                                       PARTIES

       5.     Dr. Gruenbaum is an adult individual with a business address of 385

S. Maple Avenue, #107, Glen Rock, New Jersey 07452.

       6.     Tamar Gruenbaum DDS, LLC, d/b/a Ridgewood Valley Pediatric

Dentistry is a New Jersey limited liability company with an address of 385 S. Maple

Avenue, #107, Glen Rock, New Jersey 07452.



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      7.     Upon information and belief, Levine is an individual with an address

of 135 Rockaway Turnpike, Suite 111, Lawrence, New York 10128.

      8.     Upon information and belief, Levine is a certified public accountant.

      9.     Upon information and belief, Josh Levine CPA P.C. d/b/a Levine &

Associates (“Levine & Assoc”) is a New York professional corporation with an

address of 135 Rockaway Turnpike, Suite 111, Lawrence, New York 10128 and a

registered address of 8-21 Roosevelt Court, Far Rockaway, New York, 11691.

      10.    At all times material hereto, Levine has been a shareholder, officer,

director, principal, and agent of Levine & Assoc.

                             JURISDICTION AND VENUE

      11.    This Court has subject matter jurisdiction over this action pursuant to

N.J. Const. Art. VI § III.

      12.    This Court has personal jurisdiction over all of the parties, as each

party resides in, conducts business in or has its principal place of business in New

Jersey, and the actions described herein occurred in New Jersey.

      13.    Venue is appropriate in this Court pursuant to NJ Court Rules 4:3-

1(a)(5) and 4:3-2(a).

                                       FACTS

                                    Background

      14.    Dr. Gruenbaum grew up in Teaneck, New Jersey and earned her

D.D.S. from Columbia University College of Dental Medicine.




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      15.    Dr. Gruenbaum completed a general practice residency at Montefiore

Medical Center in Bronx, New York.

      16.    Dr. Gruenbaum did her post-graduate training in pediatric dentistry at

Maimonides Medical Center in Brooklyn, New York, where she served as chief

resident during her second year.

      17.    Dr. Gruenbaum is a member of the AAPD and is board certified by the

American Board of Pediatric Dentistry.

      18.    Dr. Gruenbaum is the owner of the Practice, which provides

comprehensive dental care to children from infancy through their teenage years.

      19.    In December 2017, Dr. Gruenbaum retained Levine as the Practice’s

accountant and tax professional.

      20.    At the time, upon information and belief, Levine operated as the sole

member of EHCM LLC d/b/a “Empire Healthcare Management, LLC.”

      21.    Upon information and belief, subsequently Levine ceased operating as

EHCM LLC d/b/a “Empire Healthcare Management, LLC” and began trading as

“Levine and Assoc LLC” or “Levine & Associates” and holding himself out as a

“Partner” thereof.

      22.    Upon information and belief, “Levine & Associates LLC” is a registered

New York limited liability company with a DOS number of 4905735 that is

unaffiliated with Levine.

      23.    Levine was also engaged as Dr. Gruenbaum’s personal accountant.




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      24.    Pursuant to the parties’ agreement, defendants agreed to handle all

the Practice’s accounting and tax needs, including, but not limited to, preparing,

and timely filing all federal and state tax returns, handling its payroll taxes,

maintaining its QuickBooks, and preparing quarterly profit and loss statements.

      25.    Defendants also agreed to provide accounting and tax services to Dr.

Gruenbaum, individually.

      26.    Defendants’ obligations included but were not limited to the following:

             a.     Perform and maintain bookkeeping functions, including

maintaining the company’s books, records, cash receipts, and cash disbursements

ledgers.

             b.     Hold monthly phone meetings with Dr. Gruenbaum to review

issues and discuss ways to improve the Practice;

             c.     Hold quarterly in person meetings with Dr. Gruenbaum to

address Practice and personal related accounting and financial issues;

             d.     Analyze the Practice’s books and records and report to Dr.

Gruenbaum concerning the same;

             e.     Provide services on an “as need” basis when accounting or

financial issues arise;

             f.     Provide personal tax planning and analyze cash flow for Dr.

Gruenbaum, individually;

             g.     Position the Practice for growth and to implement and maintain

systems to foster the Practice’s growth;



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             h.    Oversee and manage the Practice’s workers’ compensation and

disability information audits;

             i.    Prepare the year end taxes for both the Practice and Dr.

Gruenbaum;

             j.    Recommend to the Practice cost savings practices and methods;

and

             k.    Develop and discuss tax planning strategies.

      27.    The above-referenced services that defendants were required to

provide are memorialized in a letter agreement attached hereto as Exhibit “1”.

      28.    Despite demand, defendants have not provided plaintiffs with a fully

executed copy of the agreement.

                     Defendants’ Fraud and Unlawful Conduct

      29.    For purposes of inducing Dr. Gruenbaum to retain his services, Levine

misrepresented that he was experienced and competent in providing accounting and

tax advice to dentists and oral surgeons.

      30.    Defendants misrepresented to Dr. Gruenbaum Levine’s successes

improving dental practices like Dr. Gruenbaum’s practice.

      31.    Levine also misrepresented the credentials, qualifications, and abilities

of his company.

      32.    For purposes of inducing Dr. Gruenbaum to retain his services, Levine

mispresented that he was experienced and competent in providing personal tax

advice in connection with divorce proceedings.



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        33.   Throughout defendants’ engagement, however, defendants failed to

perform the agreed-upon and above-referenced services.

        34.   Any services that were provided were deficient and of no value to

plaintiffs.

        35.   Among other things, defendants provided erroneous, deficient, and

substandard tax advice and services to plaintiffs, including, specifically, with

respect to the preparation of Dr. Gruenbaum’s 2019 tax returns.

        36.   As a result of defendants’ failings in connection therewith, Dr.

Gruenbaum has incurred substantial fees, costs, and expenses in her divorce

proceedings that she otherwise would not have incurred absent defendants’

misconduct.

        37.   As a result of defendants’ egregious mistakes in connection with the

Practice’s 2019 taxes, the Practice was unable to maximize its Paycheck Protection

Program loan and instead received a loan in an amount substantially less than it

otherwise would have been, absent defendants’ failings.

        38.   Defendants were required to, but failed to, file multiple IRS Form

941s.

        39.   Defendants’ failures to file resulted in an IRS investigation and the

imposition of penalties against the Practice and Dr. Gruenbaum personally.

        40.   Levine failed to accurately report the Practice’s employment tax

liability to the State of New Jersey.




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      41.    For at least one Practice employee, Levine deducted the required

payroll tax from Dr. Gruenbaum’s account but failed to file the appropriate

documentation with the State of New Jersey, such that the State had no record of

the employee working for the Dr. Gruenbaum for any payroll period.

      42.    Levine fraudulently induced Gruenbaum to retain him for payroll

related services.

      43.    Levine referred Dr. Gruenbaum to a payroll vendor, Empire Payroll

Processing, Inc., and misrepresented that entity as an independent third party

rather than as an entity affiliated with Levine and his practice.

      44.    The payroll vendor’s services were substandard, and the costs were

grossly excessive.

      45.    At all times material hereto, when Dr. Gruenbaum questioned Levine’s

services, Levine sought to cover up his failings by misrepresenting to Dr.

Gruenbaum that everything had been taken care of properly.

      46.    On March 31, 2020, and on multiple occasions thereafter, Dr.

Gruenbaum sought, and Levine refused access to, the Practice’s QuickBooks

records.

      47.    As a result of defendants’ unlawful conduct, plaintiffs have suffered

emotional distress and substantial monetary harm, including out-of-pocket

expenses, fees, and costs for defendants are responsible.

      48.    Defendants, on the other hand, have been unjustly enriched, having

received undeserved compensation in connection with their engagement.



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                                     COUNT I
                                BREACH OF CONTRACT

      49.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      50.    Plaintiffs and defendants are parties to a valid and enforceable

agreement.

      51.    Plaintiffs have performed under the agreement.

      52.    By doing the things alleged herein, defendants have materially

breached his agreement.

      53.    As a direct, proximate, and foreseeable result of defendants’ breaches

of contract, plaintiffs have suffered, and will continue to suffer, substantial damages

in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                               COUNT II
                 BREACH OF GOOD FAITH AND FAIR DEALING

      54.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      55.    By doing the things alleged herein, defendants have breached the duty

of good faith and fair dealing owed to plaintiffs.

      56.    As a direct, proximate, and foreseeable result of defendants’ breaches

of good faith and fair dealing, plaintiffs have suffered, and will continue to suffer,

substantial damages in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.



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                                   COUNT III
                           BREACH OF FIDUCIARY DUTY

       57.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

       58.    Under New Jersey law, a fiduciary relationship exists when one party

is under a duty to act for or give advice for the benefit of another on matters within

the scope of their relationship.

       59.    By virtue of the parties’ relationship, defendants owed fiduciary duties

to the plaintiffs.

       60.    By doing the things alleged herein, defendants have breached their

fiduciary duties of care and loyalty to plaintiffs.

       61.    As a direct, proximate, and foreseeable result of defendants’ breaches

of fiduciary duty, plaintiffs have suffered, and will continue to suffer, substantial

damages in an amount to be determined at trial.

       WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                      COUNT IV
                                     CONVERSION

       62.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

       63.    By doing the things alleged herein, defendants converted the time,

money, resources, and other assets of the plaintiffs without privilege or

authorization and for their own improper purposes.




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      64.    As a direct, proximate, and foreseeable result of defendants’

conversion, plaintiffs have suffered, and will continue to suffer, substantial

damages in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                     COUNT V
                                UNJUST ENRICHMENT

      65.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      66.    Defendants have and continue to benefit from their receipt of the

benefits and other compensation paid to them by the plaintiffs.

      67.    Defendants’ retention of said benefits constitutes unjust enrichment.

      68.    Accordingly, the Court should require defendants to return the benefits

bestowed upon them by the plaintiffs to the plaintiffs.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                COUNT VI
                     FRAUD/FRAUDULENT CONCEALMENT

      69.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      70.    Defendants knowingly misrepresented the truth and/or concealed

material facts to induce plaintiffs to act to their detriment.

      71.    As alleged herein, defendants misrepresented to Dr. Gruenbaum that

Levine was a qualified, experienced, competent, and diligent professional.




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        72.   Reasonably relying on these misrepresentations, plaintiffs retained

defendants’ services.

        73.   Reasonably relying on these misrepresentations, plaintiffs retained

entered into the agreement.

        74.   Additionally, defendants knowingly and intentionally concealed their

misconduct from plaintiffs for purposes of preventing them from uncovering the

truth of the same and continuing to reap the benefits that plaintiffs bestowed upon

them.

        75.   As a direct, proximate, and foreseeable result of defendants’ fraud and

fraudulent concealment, plaintiffs have suffered, and will continue to suffer,

substantial damages in an amount to be determined at trial.

        WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                     COUNT VII
                                    NEGLIGENCE

        76.   Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

        77.   Defendants owed plaintiffs a duty of care as a certified public

accountant.

        78.   By doing the things alleged herein, defendants breached their duty of

care, acted negligently, and otherwise deviated from the acceptable professional

standards attendant to a certified public accountant.




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      79.     As a direct, proximate, and foreseeable result of defendants’

negligence, plaintiffs have suffered, and will continue to suffer, substantial damages

in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                 PRAYER FOR RELIEF

      WHEREFORE, plaintiffs demand judgment against defendants as follows:

      (i)     compensatory and consequential damages in an amount to be

              determined at trial, against defendants, individually and/or jointly and

              severally as appropriate;

      (ii)    punitive damages;

      (iii)   reasonable attorney’s fees and costs;

      (iv)    pre- and post-judgment interest at the highest legal rate; and

      (v)     for such other and further relief as the Court may deem equitable, just,

              and proper, including the award of costs and expenses incurred by

              plaintiffs in this action.

                                    JURY DEMAND

      Plaintiffs demand trial by a jury of twelve on all of the triable issues of this

Complaint, pursuant to NJ Court Rules 1:8-2(b) and 4:35-1(a).

                        DESIGNATION OF TRIAL COUNSEL

      Pursuant to NJ Court Rule 4:25-4, plaintiffs hereby designate Benjamin A.

Garber, Esq. as trial counsel in this matter.




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                                  CERTIFICATIONS

      The undersigned hereby certifies that the matter in controversy is not the

subject of any other action pending in any Court or arbitration proceeding and no

other Court action or arbitration proceeding is contemplated. There is presently

pending one other action, at Docket No. C-154-19, in which one or more of the

parties to this action assert matters other than the matter in controversy herein.

      Other than the parties set forth in this complaint, I know of no other parties

that should be made a part of this lawsuit. I recognize my continuing obligation to

file and serve on all parties and the court an amended certification if there is a

change in the facts stated in this original certification.

      I certify that confidential personal identifiers have been redacted from

documents now submitted to the court and will be redacted from all documents

submitted in the future in accordance with Rule 1:38-7(b).

                                                Respectfully submitted,

Dated: June 14, 2021                            BRAVERMAN KASKEY GARBER PC

                                            BY: /s/ Benjamin A. Garber
                                               BENJAMIN A. GARBER, ESQUIRE
                                               One Liberty Place- 56th Floor
                                               1650 Market Street
                                               Philadelphia, Pennsylvania 19103
                                               Telephone: (215) 575-3800
                                               Facsimile: (215) 575-3801
                                                Attorneys for Plaintiffs




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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Josh Levine, CPA, Josh Levine CPA PC d/b/a
  Levine & Associates, and EHCM LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:                Josh Levine, CPA
Address of Defendant to Be Served: 135 Rockaway Turnpike, Suite 111, Lawrence,                             11559


Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Josh Levine, CPA, Josh Levine CPA PC d/b/a
  Levine & Associates, and EHCM LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:                Josh Levine, CPA P.C. d/b/a Levine & Associates
Address of Defendant to Be Served: 135 Rockaway Turnpike, Suite 111, Lawrence,                             11559


Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Josh Levine, CPA, Josh Levine CPA PC d/b/a
  Levine & Associates, and EHCM LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:                EHCM LLC
Address of Defendant to Be Served: 123 Grove Ave., Suite 101, Cedarhurst,                         11516


Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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                        Civil Case Information Statement
Case Details: BERGEN | Civil Part Docket# L-003840-21

Case Caption: GRUENBAUM TAMAR VS LEVINE JOSH                     Case Type: CONTRACT/COMMERCIAL TRANSACTION
Case Initiation Date: 06/14/2021                                 Document Type: Complaint with Jury Demand
Attorney Name: BENJAMIN ALEX GARBER                              Jury Demand: YES - 12 JURORS
Firm Name: BRAVERMAN KASKEY PC                                   Is this a professional malpractice case? NO
Address: 1650 MARKET STREET 56TH FL ONE LIBERTY                  Related cases pending: NO
PLACE                                                            If yes, list docket numbers:
PHILADELPHIA PA 191037334                                        Do you anticipate adding any parties (arising out of same
Phone: 2155753800                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : Gruenbaum, Tamar
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: Tamar Gruenbaum? NO

(if known): None
                                                                 Are sexual abuse claims alleged by: Tamar Gruenbaum DDS, LLC?
                                                                 NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Business
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

06/14/2021                                                                                 /s/ BENJAMIN ALEX GARBER
Dated                                                                                                         Signed
CaseBER-L-003840-21
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BERGEN COUNTY COURTHOUSE
SUPERIOR COURT LAW DIV
BERGEN COUNTY JUSTICE CTR RM 415
HACKENSACK       NJ 07601-7680
                                              TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (201) 221-0700
COURT HOURS 8:30 AM - 4:30 PM

                             DATE:   JUNE 14, 2021
                             RE:     GRUENBAUM TAMAR VS LEVINE JOSH
                             DOCKET: BER L -003840 21

      THE ABOVE CASE HAS BEEN ASSIGNED TO:    TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:   HON ROBERT C. WILSON

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM       002
AT:   (201) 527-2600.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: BENJAMIN A. GARBER
                                             BRAVERMAN KASKEY PC
                                             1650 MARKET STREET 56TH FL
                                             ONE LIBERTY PLACE
                                             PHILADELPHIA      PA 19103-7334

ECOURTS
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                     Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY

                    Plaintiffs,              Docket No. BER-L-003840-21

               v.                            REQUEST FOR ENTRY OF
                                             DEFAULT AGAINST
 JOSH LEVINE, CPA                            DEFENDANTS JOSH LEVINE,
 and                                         CPA, JOSH LEVINE CPA P.C. d/b/a
 JOSH LEVINE CPA P.C. d/b/a LEVINE           LEVINE & ASSOCIATES, and
 & ASSOCIATES,                               EHCM LLC
 and
 EHCM LLC,

                    Defendants.


TO:   CLERK OF SUPERIOR COURT OF NEW JERSEY
      Civil Division Case Management Office
      Bergen County Justice Center
      10 Main Street, Room 415
      Hackensack, NJ 07601


      Please enter a default upon defendants Josh Levine, CPA, Josh Levine CPA

P.C. d/b/a Levine & Associates, and EHCM LLC (collectively, the “defendants”) for

failure to plead or otherwise defend as provided by the New Jersey Court Rules. A

Certification in Support of Default is attached hereto.
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                                          Respectfully submitted,

Dated: July 27, 2021                      BRAVERMAN KASKEY GARBER PC

                                       BY: /s/ Benjamin A. Garber
                                          BENJAMIN A. GARBER, ESQUIRE
                                          One Liberty Place- 56th Floor
                                          1650 Market Street
                                          Philadelphia, Pennsylvania 19103
                                          Telephone: (215) 575-3800
                                          Facsimile: (215) 575-3801
                                          Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                    Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                 SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                    JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                      BERGEN COUNTY

                   Plaintiffs,             Docket No. BER-L-003840-21

              v.                           CERTIFICATION OF BENJAMIN A.
                                           GARBER, ESQUIRE IN SUPPORT
 JOSH LEVINE, CPA                          OF DEFAULT AGAINST
 and                                       DEFENDANTS JOSH LEVINE,
 JOSH LEVINE CPA P.C. d/b/a LEVINE         CPA, JOSH LEVINE CPA P.C. d/b/a
 & ASSOCIATES,                             LEVINE & ASSOCIATES, and
 and                                       EHCM LLC
 EHCM LLC,

                   Defendants.


      BENJAMIN A. GARBER, of full age, being duly sworn hereby certifies as

follows:

      1.    I am an attorney at law in the State of New Jersey and a member of

the law firm of Braverman Kaskey Garber, P.C.

      2.    I am familiar with the facts and circumstances of the within action.

      3.    The Summons and Complaint in this action were served upon

defendants Josh Levine, CPA, Josh Levine CPA P.C. d/b/a Levine & Associates, and

EHCM LLC (collectively, the “defendants”) on June 21, 2021, as appears from the
 Case 2:21-cv-18714 07/27/2021
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Affidavits of Service from Rick Lettau, process server, filed and docketed on July 8,

2021. True and correct court-stamped copies of the Affidavits of Service upon the

defendants are attached hereto as Exhibit A.

      4.      The time within which the defendants may answer or otherwise move

as to the Complaint has expired and has not been extended. Defendants have not

answered or otherwise moved as to the Complaint.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.


                                               Respectfully submitted,

Dated: July 27, 2021                           BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                               Attorneys for Plaintiffs




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              EXHIBIT A
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                        Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY

                     Plaintiffs,             Docket No. BER-L-003840-21

               v.                            CERTIFICATION OF
                                             NON-MILITARY SERVICE
 JOSH LEVINE, CPA
 and
 JOSH LEVINE CPA P.C. d/b/a LEVINE
 & ASSOCIATES,
 and
 EHCM LLC,

                     Defendants.


      BENJAMIN A. GARBER, of full age, being duly sworn hereby certifies as

follows:

      1.     I am an attorney at law in the State of New Jersey and a member of

the law firm of Braverman Kaskey Garber, P.C.

      2.     I am familiar with the facts and circumstances of the within action.

      3.     To the best of my knowledge, information and belief, defendants Josh

Levine, CPA, Josh Levine CPA P.C. d/b/a Levine & Associates, and EHCM LLC

(collectively, the “defendants”) are not in the military service of the United States.
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      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.


                                              Respectfully submitted,

Dated: July 27, 2021                          BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                              Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                       Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY

                    Plaintiffs,              Docket No. BER-L-003840-21

               v.                            PROOF OF MAILING

 JOSH LEVINE, CPA
 and
 JOSH LEVINE CPA P.C. d/b/a LEVINE
 & ASSOCIATES,
 and
 EHCM LLC,

                    Defendants.

      I hereby certify that on the 27th day of July, 2021, a true and correct copy of

the foregoing Request for Entry of Default was electronically filed with the Clerk of

the Court, is available for viewing and downloading from the Court’s electronic

filing system (eCourts System-Civil Part), and will be served by U.S. Certified Mail

and U.S. First-Class, postage prepaid upon the following:


Josh Levine, CPA
135 Rockaway Turnpike, Suite 111,
Lawrence, NY 11559
 Case 2:21-cv-18714 07/27/2021
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Josh Levine CPA P.C. d/b/a Levine & Associates
c/o Josh Levine, CPA
135 Rockaway Turnpike, Suite 111,
Lawrence, NY 11559

EHCM LLC
c/o Josh Levine, CPA
135 Rockaway Turnpike, Suite 111,
Lawrence, NY 11559




                                           Respectfully submitted,

Dated: July 27, 2021                       BRAVERMAN KASKEY GARBER PC

                                        BY: /s/ Benjamin A. Garber
                                           BENJAMIN A. GARBER, ESQUIRE
                                           One Liberty Place- 56th Floor
                                           1650 Market Street
                                           Philadelphia, Pennsylvania 19103
                                           Telephone: (215) 575-3800
                                           Facsimile: (215) 575-3801
                                           Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                    Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                 SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                    JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                      BERGEN COUNTY

                    Plaintiffs,             Docket No. BER-L-003840-21

               v.

  JOSH LEVINE, CPA                          NOTICE OF MOTION FOR ENTRY
  and                                       OF DEFAULT JUDGMENT
  JOSH LEVINE CPA P.C. d/b/a LEVINE
  & ASSOCIATES,
  and
  EHCM LLC,

                    Defendants.


TO:   Josh Levine, CPA
      Josh Levine CPA P.C. d/b/a Levine & Associates
      EHCM LLC
      135 Rockaway Turnpike, Suite 111,
      Lawrence, NY 11559

      Shanalee Ackerman
      Ackerman Practice Management LLC
      c/o Shanalee Ackerman
      1775 York Avenue, #32A
      New York, New York 10128

      PLEASE TAKE NOTICE that the undersigned counsel for Plaintiffs, will

apply to the Superior Court of New Jersey, Bergen County, 10 Main St,

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Hackensack, NJ 07601, New Jersey on August 27, 2021, at 9:00 a.m. or as soon

thereafter as counsel can be heard, for an Order entering default judgment

pursuant to R. 4:43-2(a) against defendants Josh Levine, CPA, Josh Levine CPA

P.C. d/b/a Levine & Associates, and EHCM LLC.

      PLEASE TAKE FURTHER NOTICE, that in support of their Motion,

plaintiffs shall rely upon the Certification of Amount Due and Non-Military Service

of Tamar Gruenbaum, and Certification of Benjamin A. Garber, Esquire. A

proposed form of Order is submitted.

      PLEASE TAKE FURTHER NOTICE that pursuant to R. 1: 6-2( d) the

undersigned waives oral argument.

      PLEASE TAKE FURTHER NOTICE that the relief requested may be

granted unless opposition papers are timely filed and served upon counsel for

plaintiffs no later than 8 days before the return date of the motion unless the court

relaxes that time.

                                              Respectfully submitted,

Dated: August 10, 2021                        BRAVERMAN KASKEY GARBER PC

                                           BY: /s/ Benjamin A. Garber
                                              BENJAMIN A. GARBER, ESQUIRE
                                              One Liberty Place- 56th Floor
                                              1650 Market Street
                                              Philadelphia, Pennsylvania 19103
                                              Telephone: (215) 575-3800
                                              Facsimile: (215) 575-3801
                                              Attorneys for Plaintiffs




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                         CERTIFICATION OF SERVICE

      I hereby certify that on the date below, the within Notice of Motion,

Certification of Amount Due and Non-Military Service of Tamar Gruenbaum,

Certification of Benjamin A. Garber, Esquire, and proposed form of Order were filed

and served by U.S. First-Class, postage prepaid upon the following defendants:

                               Shanalee Ackerman
                             1775 York Avenue, #32A
                            New York, New York 10128

                       Ackerman Practice Management LLC
                             c/o Shanalee Ackerman
                            1775 York Avenue, #32A
                           New York, New York 10128

                                Josh Levine, CPA
                        135 Rockaway Turnpike, Suite 111,
                               Lawrence, NY 11559

                 Josh Levine CPA P.C. d/b/a Levine & Associates
                              c/o Josh Levine, CPA
                       135 Rockaway Turnpike, Suite 111,
                              Lawrence, NY 11559

                                   EHCM LLC
                              c/o Josh Levine, CPA
                        135 Rockaway Turnpike, Suite 111,
                               Lawrence, NY 11559




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      I hereby certify that the foregoing statements made by me are true. I am

aware that if any of the foregoing statements made by me are willfully false, I am

subject to punishment.


                                             Respectfully submitted,

Dated: August 10, 2021                       BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                             Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                     Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                  SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                     JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                       BERGEN COUNTY

                     Plaintiffs,             Docket No. BER-L-003840-21

                v.

  JOSH LEVINE, CPA                           FINAL JUDGMENT BY DEFAULT
  and
  JOSH LEVINE CPA P.C. d/b/a LEVINE
  & ASSOCIATES,
  and
  EHCM LLC,

                     Defendants.

      THIS MATTER having been presented to the Court by Braverman Kaskey

Garber PC, attorneys for plaintiffs, Tamar Gruenbaum, DDS and Tamar

Gruenbaum DDS, LLC d/b/a Ridgewood Valley Pediatric Dentistry, for entry of

Final Judgment by Default pursuant to R. 4:43-2 against defendants Josh Levine,

CPA, Josh Levine CPA P.C. d/b/a Levine & Associates, and EHCM LLC

(collectively, the “defendants”); and defendants having been served with the

Summons and Complaint in this action; and defendants having failed to properly

answer the Complaint or otherwise move as to the Complaint; and default having
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been properly entered against defendants on July 27, 2021; and defendants having

been served with a copy of the default entered against them; and the Court having

considered the Certification of Amount Due and Non-Military Service of Tamar

Gruenbaum and Certification of Counsel; and it further appearing that good cause

has been shown for the entry of this Judgment,

        It is on this ____ day of August 2021, ORDERED as follows:

        1.       JUDGMENT by default as authorized by R. 4:43-2(b) is entered in

favor of plaintiffs, Tamar Gruenbaum, DDS and Tamar Gruenbaum DDS, LLC

d/b/a Ridgewood Valley Pediatric Dentistry, and against defendants Josh Levine,

CPA, Josh Levine CPA P.C. d/b/a Levine & Associates, and EHCM LLC, in the

amount of $161,437.32, together with pre-judgment and post-judgment interest and

costs of suit.

        2.       A copy of this Judgment shall be served on defendants by regular mail

within seven (7) days of receipt by plaintiffs’ counsel in accordance with Rule 4:43-

2(c).

                                          BY THE COURT:


                                          _____________________
                                                            J.

This motion was:

OPPOSED: ____

UNOPPOSED: ____
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                        Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                    SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                       JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                         BERGEN COUNTY

                      Plaintiffs,              Docket No. BER-L-003840-21

                v.                             CERTIFICATION OF AMOUNT
                                               DUE AND NON-MILITARY
  JOSH LEVINE, CPA                             SERVICE
  and
  JOSH LEVINE CPA P.C. d/b/a LEVINE
  & ASSOCIATES,
  and
  EHCM LLC,

                      Defendants.

      TAMAR GRUENBAUM, of full age, hereby certifies and says:

      1.     I am a plaintiff in the above-captioned action and am the sole member

of plaintiff Tamar Gruenbaum DDS, LLC d/b/a Ridgewood Valley Pediatric

Dentistry. I have personal knowledge of the facts set forth herein and I am

authorized to make this Certification in support of plaintiffs’ application for entry of

a default judgment against defendants Josh Levine, CPA, Josh Levine CPA P.C.

d/b/a Levine & Associates, and EHCM LLC (collectively, the “defendants”), in the

amount of $161,437.32.
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      2.     I am the owner of a local pediatric dental practice, Tamar Gruenbaum

DDS, LLC d/b/a Ridgewood Valley Pediatric Dentistry.

      3.     Defendants were engaged for purposes of providing accounting and tax

related services.

      4.     Among other things, defendants agreed to handle all the practice’s

accounting and tax needs, including, but not limited to, preparing, and timely filing

all federal and state tax returns, handling its payroll taxes, maintaining its

QuickBooks, and preparing quarterly profit and loss statements. Defendants were

also engaged as my personal accountant.

      5.     However, defendants’ services were utterly deficient, as set forth in the

allegations of the Complaint incorporated herein by reference.

      6.     Plaintiffs have sustained losses as a result of the conduct complained

of in the Complaint and for which defendants are liable, which include:

      A.     Return of the payment to defendants of $15,600 paid under the

             contract that defendants breached as a result of their flawed tax and

             accounting services.

      B.     Failing to obtain additional Paycheck Protection Program financing of

             $26,429.

      C.     Legal fees of $92,408.32 incurred in a separate legal matter directly as

             a result of defendants’ faulty preparation of my 2019 tax returns.




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       D.     Expert fees of $5,000 paid to Steven E. Carmosino, MBA, CPA of

              Botwinick & Company, LLC in a separate legal matter directly as a

              result of defendants’ faulty preparation of my 2019 tax returns.

       E.     Professional fees of $5,000 to Klein Liebman & Gresen, LLC in a

              separate legal matter directly as a result of defendants’ faulty

              preparation of my 2019 tax returns.

       F.     Loss of business revenue for three (3) days totaling $15,000 as a direct

              result of having to appear for depositions in the separate legal matter,

              the sole purpose of which was to address defendants’ faulty

              preparation of my 2019 tax returns.

       G.     Fees of $2,000 paid to defendants for payroll services that were not

              provided.

       7.     The total of plaintiffs’ losses, which are continuing in nature, as

calculated for present purposes, is $161,437.32.

       8.     This claim is not based directly or indirectly upon sale of a chattel

wherein the chattel has been repossessed peaceably or by legal process.

       9.     The Defendants named herein are not an infant or incompetent person.

       10.    Defendant Josh Levine is not in the military service of the United

States or its allies.




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                         CERTIFICATION OF SERVICE

      I hereby certify that on the date below, the within Notice of Motion,

Certification of Amount Due and Non-Military Service of Tamar Gruenbaum,

Certification of Benjamin A. Garber, Esquire, and proposed form of Order were filed

and served by U.S. First-Class, postage prepaid upon the following defendants:

                               Shanalee Ackerman
                             1775 York Avenue, #32A
                            New York, New York 10128

                       Ackerman Practice Management LLC
                             c/o Shanalee Ackerman
                            1775 York Avenue, #32A
                           New York, New York 10128

                                Josh Levine, CPA
                        135 Rockaway Turnpike, Suite 111,
                               Lawrence, NY 11559

                 Josh Levine CPA P.C. d/b/a Levine & Associates
                              c/o Josh Levine, CPA
                       135 Rockaway Turnpike, Suite 111,
                              Lawrence, NY 11559

                                   EHCM LLC
                              c/o Josh Levine, CPA
                        135 Rockaway Turnpike, Suite 111,
                               Lawrence, NY 11559




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      I hereby certify that the foregoing statements made by me are true. I am

aware that if any of the foregoing statements made by me are willfully false, I am

subject to punishment.


                                             Respectfully submitted,

Dated: August 10, 2021                       BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                             Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                      Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                    SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                       JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                         BERGEN COUNTY

                      Plaintiffs,              Docket No. BER-L-003840-21

                 v.                            CERTIFICATION OF BENJAMIN A.
                                               GARBER, ESQUIRE PER R. 4:43-2
  JOSH LEVINE, CPA                             FOR FINAL JUDGMENT BY
  and                                          DEFAULT DEFENDANTS JOSH
  JOSH LEVINE CPA P.C. d/b/a LEVINE            LEVINE, CPA, JOSH LEVINE CPA
  & ASSOCIATES,                                P.C. D/B/A LEVINE &
  and                                          ASSOCIATES, AND EHCM LLC
  EHCM LLC,

                      Defendants.

      I, Benjamin A. Garber, Esquire, counsel for plaintiffs, hereby certifies as

follows:

      1.     I am counsel to Plaintiffs Tamar Gruenbaum, DDS (“Dr. Gruenbaum”)

and Tamar Gruenbaum DDS, LLC d/b/a Ridgewood Valley Pediatric Dentistry.

      2.     Plaintiffs seek a Final Judgment by Default against defendants Josh

Levine, CPA, Josh Levine CPA P.C. d/b/a Levine & Associates, and EHCM LLC

(collectively, the “defendants”), pursuant to R. 4:43-2.

      3.     The Summons and Complaint in this action were personally served
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upon defendants on June 21, 2021, as appears from the Affidavits of Service from

Rick Lettau, process server, filed and docketed on July 8, 2021.

      4.     True and correct court-stamped copies of the Affidavits of Service upon

the defendants are attached hereto as Exhibit “1”.

      5.     The time within which the defendants may answer or otherwise move

as to the Complaint expired.

      6.     Defendants failed to timely answer or otherwise move as to the

Complaint.

      7.     Accordingly, on July 27, 2021, a default was filed and entered against

each of the defendants per R. 4:43-1.

      8.     Defendants were served by regular mail and certified mail on July 27,

2021; the certified mail was delivered on July 31, 2021. True and correct copies of

service documents are attached hereto as Exhibit “2”.

      9.     Rule 4:43-2 allows a court to enter final judgment by default upon

motion by the party entitled to a judgment by default. The final judgment shall not

be different in kind, nor exceed the amount demanded in the pleading. A judgment

by default must be entered after a default, pursuant to Rule 4:43-1.

      10.    “If, to enable the court to enter judgment ... it is necessary to take an

account or to determine the amount of damages or to establish the truth of any

allegation by evidence or to make an investigation of any other matter, the court, on

its own motion ... may conduct such proof hearings ... as it deems appropriate.” R

4:43-2(b).



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      11.       Plaintiffs’ Complaint asserts the following causes of action:

            •   Count I – Breach of Contract
            •   Count II – Breach of Good Faith and Fair Dealing
            •   Count III – Breach of Fiduciary Duty
            •   Count IV – Conversion
            •   Count V – Unjust Enrichment
            •   Count VI – Fraud/Fraudulent Inducement
            •   Count VII – Negligence

      12.       A copy of the Complaint is attached hereto as Exhibit “3.”

      13.       Per the Certification of Dr. Gruenbaum filed contemporaneously

herewith and incorporated herein by reference, plaintiffs have sustained losses as a

result of the conduct complained of in the Complaint and for which defendants are

liable, which include:

      A.        Return of the payment to defendants of $15,600 paid under the

                contract that defendants breached as a result of their flawed tax and

                accounting services.

      B.        Failing to obtain additional Paycheck Protection Program financing of

                $26,429.

      C.        Legal fees of $92,408.32 incurred in a separate legal matter directly as

                a result of defendants’ faulty preparation of Dr. Gruenbaum’s 2019 tax

                returns.

      D.        Expert fees of $5,000 paid to Steven E. Carmosino, MBA, CPA of

                Botwinick & Company, LLC in a separate legal matter directly as a

                result of defendants’ faulty preparation of Dr. Gruenbaum’s 2019 tax

                returns.


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      E.     Professional fees of $5,000 to Klein Liebman & Gresen, LLC in a

             separate legal matter directly as a result of defendants’ faulty

             preparation of Dr. Gruenbaum’s 2019 tax returns.

      F.     Loss of business revenue for three (3) days totaling $15,000 as a direct

             result of having to appear for depositions in the separate legal matter,

             the sole purpose of which was to address defendants’ faulty

             preparation of Dr. Gruenbaum’s 2019 tax returns.

      G.     Fees of $2,000 paid to defendants for payroll services that were not

             provided.

      14.    The total of plaintiffs’ losses, which are continuing in nature, as

calculated for present purposes, is $161,437.32.

      15.    Pursuant to Rule 4:42-11(a)(iii), the post-judgment annual rate of

interest for judgments exceeding the monetary limit of the Special Civil Part at the

time of entry for calendar year 2021 (commencing January 1, 2021) is 3.50%.

      16.    Pursuant to R. 4:42-11(b), pre-judgment interest rates in tort actions

after January 1, 1988, are the same as the post-judgment interest rates.

      17.    “Barring unusual circumstances, an award of prejudgment interest for

breach of contract cases should be made in accordance with New Jersey Court Rule

4:42-11.” Corestar Int’l PTE. Ltd v. LPB Communs., Inc., 2007 U.S. Dist. LEXIS

75324, *11, 2007 WL 2990896.

      18.    Against the foregoing, plaintiffs request that the Court enter the

proposed order submitted herewith entering final judgment by default in favor of



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plaintiffs and against the defendants, jointly and severally, in the principal amount

of $161,437.32 plus pre and post judgment interest, and costs of suit.

                                              Respectfully submitted,

Dated: August 10, 2021                        BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                              Attorneys for Plaintiffs




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                      EXHIBIT 1
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                        Exhibit 2
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                     Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY

                    Plaintiffs,              Docket No. BER-L-003840-21

               v.                            REQUEST FOR ENTRY OF
                                             DEFAULT AGAINST
 JOSH LEVINE, CPA                            DEFENDANTS JOSH LEVINE,
 and                                         CPA, JOSH LEVINE CPA P.C. d/b/a
 JOSH LEVINE CPA P.C. d/b/a LEVINE           LEVINE & ASSOCIATES, and
 & ASSOCIATES,                               EHCM LLC
 and
 EHCM LLC,

                    Defendants.


TO:   CLERK OF SUPERIOR COURT OF NEW JERSEY
      Civil Division Case Management Office
      Bergen County Justice Center
      10 Main Street, Room 415
      Hackensack, NJ 07601


      Please enter a default upon defendants Josh Levine, CPA, Josh Levine CPA

P.C. d/b/a Levine & Associates, and EHCM LLC (collectively, the “defendants”) for

failure to plead or otherwise defend as provided by the New Jersey Court Rules. A

Certification in Support of Default is attached hereto.
 Case 2:21-cv-18714 08/10/2021
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                                            Respectfully submitted,

Dated: July 27, 2021                        BRAVERMAN KASKEY GARBER PC

                                         BY: /s/ Benjamin A. Garber
                                            BENJAMIN A. GARBER, ESQUIRE
                                            One Liberty Place- 56th Floor
                                            1650 Market Street
                                            Philadelphia, Pennsylvania 19103
                                            Telephone: (215) 575-3800
                                            Facsimile: (215) 575-3801
                                            Attorneys for Plaintiffs




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 Case 2:21-cv-18714 08/10/2021
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                    Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                 SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                    JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                      BERGEN COUNTY

                   Plaintiffs,             Docket No. BER-L-003840-21

              v.                           CERTIFICATION OF BENJAMIN A.
                                           GARBER, ESQUIRE IN SUPPORT
 JOSH LEVINE, CPA                          OF DEFAULT AGAINST
 and                                       DEFENDANTS JOSH LEVINE,
 JOSH LEVINE CPA P.C. d/b/a LEVINE         CPA, JOSH LEVINE CPA P.C. d/b/a
 & ASSOCIATES,                             LEVINE & ASSOCIATES, and
 and                                       EHCM LLC
 EHCM LLC,

                   Defendants.


      BENJAMIN A. GARBER, of full age, being duly sworn hereby certifies as

follows:

      1.    I am an attorney at law in the State of New Jersey and a member of

the law firm of Braverman Kaskey Garber, P.C.

      2.    I am familiar with the facts and circumstances of the within action.

      3.    The Summons and Complaint in this action were served upon

defendants Josh Levine, CPA, Josh Levine CPA P.C. d/b/a Levine & Associates, and

EHCM LLC (collectively, the “defendants”) on June 21, 2021, as appears from the
 Case 2:21-cv-18714 08/10/2021
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Affidavits of Service from Rick Lettau, process server, filed and docketed on July 8,

2021. True and correct court-stamped copies of the Affidavits of Service upon the

defendants are attached hereto as Exhibit A.

      4.      The time within which the defendants may answer or otherwise move

as to the Complaint has expired and has not been extended. Defendants have not

answered or otherwise moved as to the Complaint.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.


                                               Respectfully submitted,

Dated: July 27, 2021                           BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                               Attorneys for Plaintiffs




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Case 2:21-cv-18714 08/10/2021
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               EXHIBIT A
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                    07/08/20216:18:12
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                        Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY

                     Plaintiffs,             Docket No. BER-L-003840-21

               v.                            CERTIFICATION OF
                                             NON-MILITARY SERVICE
 JOSH LEVINE, CPA
 and
 JOSH LEVINE CPA P.C. d/b/a LEVINE
 & ASSOCIATES,
 and
 EHCM LLC,

                     Defendants.


      BENJAMIN A. GARBER, of full age, being duly sworn hereby certifies as

follows:

      1.     I am an attorney at law in the State of New Jersey and a member of

the law firm of Braverman Kaskey Garber, P.C.

      2.     I am familiar with the facts and circumstances of the within action.

      3.     To the best of my knowledge, information and belief, defendants Josh

Levine, CPA, Josh Levine CPA P.C. d/b/a Levine & Associates, and EHCM LLC

(collectively, the “defendants”) are not in the military service of the United States.
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      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.


                                              Respectfully submitted,

Dated: July 27, 2021                          BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                              Attorneys for Plaintiffs




                                          2
 Case 2:21-cv-18714 08/10/2021
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
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1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                       Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY

                    Plaintiffs,              Docket No. BER-L-003840-21

               v.                            PROOF OF MAILING

 JOSH LEVINE, CPA
 and
 JOSH LEVINE CPA P.C. d/b/a LEVINE
 & ASSOCIATES,
 and
 EHCM LLC,

                    Defendants.

      I hereby certify that on the 27th day of July, 2021, a true and correct copy of

the foregoing Request for Entry of Default was electronically filed with the Clerk of

the Court, is available for viewing and downloading from the Court’s electronic

filing system (eCourts System-Civil Part), and will be served by U.S. Certified Mail

and U.S. First-Class, postage prepaid upon the following:


Josh Levine, CPA
135 Rockaway Turnpike, Suite 111,
Lawrence, NY 11559
 Case 2:21-cv-18714 08/10/2021
   BER-L-003840-21
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Josh Levine CPA P.C. d/b/a Levine & Associates
c/o Josh Levine, CPA
135 Rockaway Turnpike, Suite 111,
Lawrence, NY 11559

EHCM LLC
c/o Josh Levine, CPA
135 Rockaway Turnpike, Suite 111,
Lawrence, NY 11559




                                            Respectfully submitted,

Dated: July 27, 2021                        BRAVERMAN KASKEY GARBER PC

                                         BY: /s/ Benjamin A. Garber
                                            BENJAMIN A. GARBER, ESQUIRE
                                            One Liberty Place- 56th Floor
                                            1650 Market Street
                                            Philadelphia, Pennsylvania 19103
                                            Telephone: (215) 575-3800
                                            Facsimile: (215) 575-3801
                                            Attorneys for Plaintiffs




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Case 2:21-cv-18714 08/10/2021
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Case 2:21-cv-18714 08/10/2021
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                      EXHIBIT 3
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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Josh Levine, CPA, Josh Levine CPA PC d/b/a
  Levine & Associates, and EHCM LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:                Josh Levine, CPA
Address of Defendant to Be Served: 135 Rockaway Turnpike, Suite 111, Lawrence,                             11559


Revised 11/17/2014, CN 10792-English (Appendix XII-A)
      Case 2:21-cv-18714 08/10/2021
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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Josh Levine, CPA, Josh Levine CPA PC d/b/a
  Levine & Associates, and EHCM LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:                Josh Levine, CPA P.C. d/b/a Levine & Associates
Address of Defendant to Be Served: 135 Rockaway Turnpike, Suite 111, Lawrence,                             11559


Revised 11/17/2014, CN 10792-English (Appendix XII-A)
      Case 2:21-cv-18714 08/10/2021
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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Josh Levine, CPA, Josh Levine CPA PC d/b/a
  Levine & Associates, and EHCM LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:                EHCM LLC
Address of Defendant to Be Served: 123 Grove Ave., Suite 101, Cedarhurst,                         11516


Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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                        Civil Case Information Statement
Case Details: BERGEN | Civil Part Docket# L-003840-21

Case Caption: GRUENBAUM TAMAR VS LEVINE JOSH                     Case Type: CONTRACT/COMMERCIAL TRANSACTION
Case Initiation Date: 06/14/2021                                 Document Type: Complaint with Jury Demand
Attorney Name: BENJAMIN ALEX GARBER                              Jury Demand: YES - 12 JURORS
Firm Name: BRAVERMAN KASKEY PC                                   Is this a professional malpractice case? NO
Address: 1650 MARKET STREET 56TH FL ONE LIBERTY                  Related cases pending: NO
PLACE                                                            If yes, list docket numbers:
PHILADELPHIA PA 191037334                                        Do you anticipate adding any parties (arising out of same
Phone: 2155753800                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : Gruenbaum, Tamar
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: Tamar Gruenbaum? NO

(if known): None
                                                                 Are sexual abuse claims alleged by: Tamar Gruenbaum DDS, LLC?
                                                                 NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Business
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

06/14/2021                                                                                 /s/ BENJAMIN ALEX GARBER
Dated                                                                                                         Signed
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                    Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                 SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                    JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                      BERGEN COUNTY
  385 S Maple Ave, #107
  Glen Rock, NJ 07452                       Docket No. ___________
                    Plaintiffs,
                                            COMPLAINT AND JURY DEMAND
                v.                          DESIGNATION OF TRIAL
                                            COUNSEL, AND CERTIFICATIONS
  JOSH LEVINE, CPA                          UNDER RULES 1:38-7(b) and 4:5-1
  135 Rockaway Turnpike, Suite 111,
  Lawrence, NY 11559; and

  JOSH LEVINE CPA P.C. d/b/a LEVINE
  & ASSOCIATES,
  135 Rockaway Turnpike, Suite 111,
  Lawrence, NY 11559; and

  EHCM LLC
  123 Grove Ave
  Suite 101
  Cedarhurst, NY 11516
                     Defendants.

      Plaintiffs Tamar Gruenbaum, DDS (“Dr. Gruenbaum”) and Tamar

Gruenbaum DDS, LLC d/b/a Ridgewood Valley Pediatric Dentistry (the “Practice”),

by and through their undersigned counsel, brings this Complaint against

defendants Josh Levine, CPA, Josh Levine CPA P.C. d/b/a Levine & Associates, and

EHCM LLC (collectively, the “defendants”), as follows:
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                           PRELIMINARY STATEMENT

       1.     Dr. Gruenbaum is the owner of a local pediatric dental practice.

Defendants were engaged for purposes of providing accounting and tax related

services to plaintiffs.

       2.     Among other things, defendants agreed to handle all the Practice’s

accounting and tax needs, including, but not limited to, preparing, and timely filing

all federal and state tax returns, handling its payroll taxes, maintaining its

QuickBooks, and preparing quarterly profit and loss statements. Defendants were

also engaged as Dr. Gruenbaum’s personal accountant.

       3.     However, defendants’ services were utterly deficient. Defendants

failed to act in plaintiffs’ best interests, and their services were procured through

defendants’ misrepresentations as to their qualifications and abilities.

       4.     Defendants’ acts and omissions, as alleged herein, have, and continue

to cause substantial financial harm to plaintiffs and give rise to the claims asserted

herein for breach of contract, breach of fiduciary duty, fraud, conversion, and unjust

enrichment, among others.

                                       PARTIES

       5.     Dr. Gruenbaum is an adult individual with a business address of 385

S. Maple Avenue, #107, Glen Rock, New Jersey 07452.

       6.     Tamar Gruenbaum DDS, LLC, d/b/a Ridgewood Valley Pediatric

Dentistry is a New Jersey limited liability company with an address of 385 S. Maple

Avenue, #107, Glen Rock, New Jersey 07452.



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      7.     Upon information and belief, Levine is an individual with an address

of 135 Rockaway Turnpike, Suite 111, Lawrence, New York 10128.

      8.     Upon information and belief, Levine is a certified public accountant.

      9.     Upon information and belief, Josh Levine CPA P.C. d/b/a Levine &

Associates (“Levine & Assoc”) is a New York professional corporation with an

address of 135 Rockaway Turnpike, Suite 111, Lawrence, New York 10128 and a

registered address of 8-21 Roosevelt Court, Far Rockaway, New York, 11691.

      10.    At all times material hereto, Levine has been a shareholder, officer,

director, principal, and agent of Levine & Assoc.

                             JURISDICTION AND VENUE

      11.    This Court has subject matter jurisdiction over this action pursuant to

N.J. Const. Art. VI § III.

      12.    This Court has personal jurisdiction over all of the parties, as each

party resides in, conducts business in or has its principal place of business in New

Jersey, and the actions described herein occurred in New Jersey.

      13.    Venue is appropriate in this Court pursuant to NJ Court Rules 4:3-

1(a)(5) and 4:3-2(a).

                                       FACTS

                                    Background

      14.    Dr. Gruenbaum grew up in Teaneck, New Jersey and earned her

D.D.S. from Columbia University College of Dental Medicine.




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      15.    Dr. Gruenbaum completed a general practice residency at Montefiore

Medical Center in Bronx, New York.

      16.    Dr. Gruenbaum did her post-graduate training in pediatric dentistry at

Maimonides Medical Center in Brooklyn, New York, where she served as chief

resident during her second year.

      17.    Dr. Gruenbaum is a member of the AAPD and is board certified by the

American Board of Pediatric Dentistry.

      18.    Dr. Gruenbaum is the owner of the Practice, which provides

comprehensive dental care to children from infancy through their teenage years.

      19.    In December 2017, Dr. Gruenbaum retained Levine as the Practice’s

accountant and tax professional.

      20.    At the time, upon information and belief, Levine operated as the sole

member of EHCM LLC d/b/a “Empire Healthcare Management, LLC.”

      21.    Upon information and belief, subsequently Levine ceased operating as

EHCM LLC d/b/a “Empire Healthcare Management, LLC” and began trading as

“Levine and Assoc LLC” or “Levine & Associates” and holding himself out as a

“Partner” thereof.

      22.    Upon information and belief, “Levine & Associates LLC” is a registered

New York limited liability company with a DOS number of 4905735 that is

unaffiliated with Levine.

      23.    Levine was also engaged as Dr. Gruenbaum’s personal accountant.




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      24.    Pursuant to the parties’ agreement, defendants agreed to handle all

the Practice’s accounting and tax needs, including, but not limited to, preparing,

and timely filing all federal and state tax returns, handling its payroll taxes,

maintaining its QuickBooks, and preparing quarterly profit and loss statements.

      25.    Defendants also agreed to provide accounting and tax services to Dr.

Gruenbaum, individually.

      26.    Defendants’ obligations included but were not limited to the following:

             a.     Perform and maintain bookkeeping functions, including

maintaining the company’s books, records, cash receipts, and cash disbursements

ledgers.

             b.     Hold monthly phone meetings with Dr. Gruenbaum to review

issues and discuss ways to improve the Practice;

             c.     Hold quarterly in person meetings with Dr. Gruenbaum to

address Practice and personal related accounting and financial issues;

             d.     Analyze the Practice’s books and records and report to Dr.

Gruenbaum concerning the same;

             e.     Provide services on an “as need” basis when accounting or

financial issues arise;

             f.     Provide personal tax planning and analyze cash flow for Dr.

Gruenbaum, individually;

             g.     Position the Practice for growth and to implement and maintain

systems to foster the Practice’s growth;



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             h.    Oversee and manage the Practice’s workers’ compensation and

disability information audits;

             i.    Prepare the year end taxes for both the Practice and Dr.

Gruenbaum;

             j.    Recommend to the Practice cost savings practices and methods;

and

             k.    Develop and discuss tax planning strategies.

      27.    The above-referenced services that defendants were required to

provide are memorialized in a letter agreement attached hereto as Exhibit “1”.

      28.    Despite demand, defendants have not provided plaintiffs with a fully

executed copy of the agreement.

                     Defendants’ Fraud and Unlawful Conduct

      29.    For purposes of inducing Dr. Gruenbaum to retain his services, Levine

misrepresented that he was experienced and competent in providing accounting and

tax advice to dentists and oral surgeons.

      30.    Defendants misrepresented to Dr. Gruenbaum Levine’s successes

improving dental practices like Dr. Gruenbaum’s practice.

      31.    Levine also misrepresented the credentials, qualifications, and abilities

of his company.

      32.    For purposes of inducing Dr. Gruenbaum to retain his services, Levine

mispresented that he was experienced and competent in providing personal tax

advice in connection with divorce proceedings.



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        33.   Throughout defendants’ engagement, however, defendants failed to

perform the agreed-upon and above-referenced services.

        34.   Any services that were provided were deficient and of no value to

plaintiffs.

        35.   Among other things, defendants provided erroneous, deficient, and

substandard tax advice and services to plaintiffs, including, specifically, with

respect to the preparation of Dr. Gruenbaum’s 2019 tax returns.

        36.   As a result of defendants’ failings in connection therewith, Dr.

Gruenbaum has incurred substantial fees, costs, and expenses in her divorce

proceedings that she otherwise would not have incurred absent defendants’

misconduct.

        37.   As a result of defendants’ egregious mistakes in connection with the

Practice’s 2019 taxes, the Practice was unable to maximize its Paycheck Protection

Program loan and instead received a loan in an amount substantially less than it

otherwise would have been, absent defendants’ failings.

        38.   Defendants were required to, but failed to, file multiple IRS Form

941s.

        39.   Defendants’ failures to file resulted in an IRS investigation and the

imposition of penalties against the Practice and Dr. Gruenbaum personally.

        40.   Levine failed to accurately report the Practice’s employment tax

liability to the State of New Jersey.




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      41.    For at least one Practice employee, Levine deducted the required

payroll tax from Dr. Gruenbaum’s account but failed to file the appropriate

documentation with the State of New Jersey, such that the State had no record of

the employee working for the Dr. Gruenbaum for any payroll period.

      42.    Levine fraudulently induced Gruenbaum to retain him for payroll

related services.

      43.    Levine referred Dr. Gruenbaum to a payroll vendor, Empire Payroll

Processing, Inc., and misrepresented that entity as an independent third party

rather than as an entity affiliated with Levine and his practice.

      44.    The payroll vendor’s services were substandard, and the costs were

grossly excessive.

      45.    At all times material hereto, when Dr. Gruenbaum questioned Levine’s

services, Levine sought to cover up his failings by misrepresenting to Dr.

Gruenbaum that everything had been taken care of properly.

      46.    On March 31, 2020, and on multiple occasions thereafter, Dr.

Gruenbaum sought, and Levine refused access to, the Practice’s QuickBooks

records.

      47.    As a result of defendants’ unlawful conduct, plaintiffs have suffered

emotional distress and substantial monetary harm, including out-of-pocket

expenses, fees, and costs for defendants are responsible.

      48.    Defendants, on the other hand, have been unjustly enriched, having

received undeserved compensation in connection with their engagement.



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                                     COUNT I
                                BREACH OF CONTRACT

      49.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      50.    Plaintiffs and defendants are parties to a valid and enforceable

agreement.

      51.    Plaintiffs have performed under the agreement.

      52.    By doing the things alleged herein, defendants have materially

breached his agreement.

      53.    As a direct, proximate, and foreseeable result of defendants’ breaches

of contract, plaintiffs have suffered, and will continue to suffer, substantial damages

in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                               COUNT II
                 BREACH OF GOOD FAITH AND FAIR DEALING

      54.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      55.    By doing the things alleged herein, defendants have breached the duty

of good faith and fair dealing owed to plaintiffs.

      56.    As a direct, proximate, and foreseeable result of defendants’ breaches

of good faith and fair dealing, plaintiffs have suffered, and will continue to suffer,

substantial damages in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.



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                                   COUNT III
                           BREACH OF FIDUCIARY DUTY

       57.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

       58.    Under New Jersey law, a fiduciary relationship exists when one party

is under a duty to act for or give advice for the benefit of another on matters within

the scope of their relationship.

       59.    By virtue of the parties’ relationship, defendants owed fiduciary duties

to the plaintiffs.

       60.    By doing the things alleged herein, defendants have breached their

fiduciary duties of care and loyalty to plaintiffs.

       61.    As a direct, proximate, and foreseeable result of defendants’ breaches

of fiduciary duty, plaintiffs have suffered, and will continue to suffer, substantial

damages in an amount to be determined at trial.

       WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                      COUNT IV
                                     CONVERSION

       62.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

       63.    By doing the things alleged herein, defendants converted the time,

money, resources, and other assets of the plaintiffs without privilege or

authorization and for their own improper purposes.




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      64.    As a direct, proximate, and foreseeable result of defendants’

conversion, plaintiffs have suffered, and will continue to suffer, substantial

damages in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                     COUNT V
                                UNJUST ENRICHMENT

      65.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      66.    Defendants have and continue to benefit from their receipt of the

benefits and other compensation paid to them by the plaintiffs.

      67.    Defendants’ retention of said benefits constitutes unjust enrichment.

      68.    Accordingly, the Court should require defendants to return the benefits

bestowed upon them by the plaintiffs to the plaintiffs.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                COUNT VI
                     FRAUD/FRAUDULENT CONCEALMENT

      69.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      70.    Defendants knowingly misrepresented the truth and/or concealed

material facts to induce plaintiffs to act to their detriment.

      71.    As alleged herein, defendants misrepresented to Dr. Gruenbaum that

Levine was a qualified, experienced, competent, and diligent professional.




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        72.   Reasonably relying on these misrepresentations, plaintiffs retained

defendants’ services.

        73.   Reasonably relying on these misrepresentations, plaintiffs retained

entered into the agreement.

        74.   Additionally, defendants knowingly and intentionally concealed their

misconduct from plaintiffs for purposes of preventing them from uncovering the

truth of the same and continuing to reap the benefits that plaintiffs bestowed upon

them.

        75.   As a direct, proximate, and foreseeable result of defendants’ fraud and

fraudulent concealment, plaintiffs have suffered, and will continue to suffer,

substantial damages in an amount to be determined at trial.

        WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                     COUNT VII
                                    NEGLIGENCE

        76.   Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

        77.   Defendants owed plaintiffs a duty of care as a certified public

accountant.

        78.   By doing the things alleged herein, defendants breached their duty of

care, acted negligently, and otherwise deviated from the acceptable professional

standards attendant to a certified public accountant.




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      79.     As a direct, proximate, and foreseeable result of defendants’

negligence, plaintiffs have suffered, and will continue to suffer, substantial damages

in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                 PRAYER FOR RELIEF

      WHEREFORE, plaintiffs demand judgment against defendants as follows:

      (i)     compensatory and consequential damages in an amount to be

              determined at trial, against defendants, individually and/or jointly and

              severally as appropriate;

      (ii)    punitive damages;

      (iii)   reasonable attorney’s fees and costs;

      (iv)    pre- and post-judgment interest at the highest legal rate; and

      (v)     for such other and further relief as the Court may deem equitable, just,

              and proper, including the award of costs and expenses incurred by

              plaintiffs in this action.

                                    JURY DEMAND

      Plaintiffs demand trial by a jury of twelve on all of the triable issues of this

Complaint, pursuant to NJ Court Rules 1:8-2(b) and 4:35-1(a).

                        DESIGNATION OF TRIAL COUNSEL

      Pursuant to NJ Court Rule 4:25-4, plaintiffs hereby designate Benjamin A.

Garber, Esq. as trial counsel in this matter.




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                                  CERTIFICATIONS

      The undersigned hereby certifies that the matter in controversy is not the

subject of any other action pending in any Court or arbitration proceeding and no

other Court action or arbitration proceeding is contemplated. There is presently

pending one other action, at Docket No. C-154-19, in which one or more of the

parties to this action assert matters other than the matter in controversy herein.

      Other than the parties set forth in this complaint, I know of no other parties

that should be made a part of this lawsuit. I recognize my continuing obligation to

file and serve on all parties and the court an amended certification if there is a

change in the facts stated in this original certification.

      I certify that confidential personal identifiers have been redacted from

documents now submitted to the court and will be redacted from all documents

submitted in the future in accordance with Rule 1:38-7(b).

                                                Respectfully submitted,

Dated: June 14, 2021                            BRAVERMAN KASKEY GARBER PC

                                            BY: /s/ Benjamin A. Garber
                                               BENJAMIN A. GARBER, ESQUIRE
                                               One Liberty Place- 56th Floor
                                               1650 Market Street
                                               Philadelphia, Pennsylvania 19103
                                               Telephone: (215) 575-3800
                                               Facsimile: (215) 575-3801
                                                Attorneys for Plaintiffs




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  N.J. Attorney I.D. No. 02222-2006
  Counsel for Defendants

  TAMAR GRUENBAUM; and                               SUPERIOR COURT OF NEW JERSEY
  TAMAR GRUENBAUM DDS, LLC,                          LAW DIVISION: BERGEN COUNTY
  doing business as RIDGEWOOD VALLEY
  PEDIATRIC DENTISTRY,                               Docket No. BER-L -003840-2021

                      Plaintiffs,

        ~ versus ~

  JOSH LEVINE, CPA; and
  JOSH LEVINE CPA P.C. doing business as
  LEVINE & ASSOCIATES; and
  EHCM LLC,

                      Defendants.




                MEMORANDUM OF LAW BY DEFENDANTS
                     IN OPPOSITION TO MOTION FOR
                           ENTRY OF DEFAULT
                        AND FOR FINAL JUDGMENT




                     Respectfully Submitted August 26, 2021
                         by Baruch S. Gottesman, Esq.


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  I.     INTRODUCTORY STATEMENT

                 The Plaintiffs ambushed the Defendants with this Motion to Enter a Default

  and for Final Judgment. Immediately upon learning of this Motion, the Defendants quickly

  retained local counsel in New Jersey and now respectfully but emphatically oppose the

  Plaintiffs’ Motion to Enter a Default and for Final Judgment.

                 To the extent that this opposition to the Application for Entry of Default is

  untimely, the Defendants respectfully request that the Court accept it for consider, even

  though it is late. First, it will allow a fair assessment of the Motion. And in addition, it

  would save Court resources to consider this opposition on the Motion to Enter a Default

  because simultaneously with the filing of this opposition, the Defendants have moved for

  any Default be Vacated – a Motion which covers the same ground.

                 Simultaneously with the filing of this Opposition, the Defendants are filing

  a Motion to Vacate the Default and Restore the case to the Active Trial Calendar (assuming

  that is issue is not moot) and which will ask that this action be consolidated with the

  companion case of Gruenbaum v. Ackerman, et al., BER-L-3841-2021. Since these issues

  will be addressed one way or the other, the Defendants respectfully submit that it would

  conserve judicial resources to accept this untimely opposition to the Motion for Entry of

  Default, rather than to re-hear and address the same issues on the Cross-Motion.



  II.    FACTUAL AND PROCEDURAL BACKGROUND

                 As alleged in the Complaint (¶¶ 23, 25) and further explained in the

  Certification by Defendant Josh Levine (¶ 7), the Levine Defendants provided accounting

  services to the Plaintiff, her then-husband, and the couple’s businesses. As described in



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  the Complaint (¶ 36) and further explained in the Certification by Defendant Josh Levine

  (¶¶ 8 and 9) the services provided by the Defendants became an issue in the Individual

  Plaintiff’s divorce proceedings that remain ongoing in the State of New York.

                 Through no wrongdoing on the Defendants’ part, they found themselves

  dragged into a contentious matrimonial action out of state across the Hudson.

                 This lawsuit filed.

                 The scattershot claims in this Complaint are self-contradictory (Compare

  Complaint ¶ 42 alleging that the Plaintiffs were induced into hiring the Defendants for

  payroll services; with Complaint ¶ 43 alleging Defendants referred the Plaintiff to a third-

  party payroll services provider); not actionable (See, e.g., Complaint ¶ 49, Count I for

  Breach of Contract and Complaint ¶ 65, Count V seeking recovery for Unjust Enrichment

  where there is an adequate remedy at law), and otherwise cannot support the causes of

  action put forward in the Complaint. If the case would move forward, the Defendants

  intended to move to Dismiss. But that was put on hold.

                 Without disclosing the substance of settlement negotiations, the Defendants

  thought that they were in discussions about the resolution of this case and understood that

  this case would be or was Stayed pending the resolution of the Plaintiffs’ matrimonial

  action in New York (Levine Certification ¶ 13). The Defendants were blindsided.

                 The Defendants just become aware that a Motion for Entry of Default was

  filed against them and quickly appeared to respectfully but emphatically oppose the entry

  of Default and of a Final Judgment, as explained in this Memorandum.




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  III.   ARGUMENT:

         A.     THE DEFENDANTS’ EXCUSABLE NEGLECT

                 The Defendants understood – perhaps misunderstood – that the case was

  Stayed pending the resolution of the underlying matrimonial action. Certification at ¶ 13.

                 The Rules Provide:

                 “On motion, with briefs, and upon such terms as are just, the
                 court may relief a party . . . from a final judgment or order
                 for the following reasons: (a) mistake, inadvertence,
                 surprise, or excusable neglect.”

                 Rule 4:50-1(a).

                 The Supreme Court explained that “[g]enerally, a defendant seeking to

  reopen a default judgment because of excusable neglect must show that the failure to

  answer was excusable under the circumstances and that a meritorious defense is available.”

  Hous. Auth. of Morristown v. Little, 135 N.J. 274, 284 (1994). The standard for opening

  defaults, we are told, “should be viewed with great liberality, and every reasonable ground

  for indulgence is tolerated to the end that a just result is reached.” Housing Authority of

  Morristown, Id. at 283-84 citing Marder v. Realty Constr. Co., 84 N.J.Super. 313, 318-319

  (App. Div. 1964).

                 “An application to vacate a default, pursuant to the Rule 4:43-2, is indulged

  with even greater liberality.” Paul Sciarra, LLC v. Freeman, Docket No. A-0559-16T1,

  2017 N.J. Super.Unpub. LEXIS 359, at * 3 (App.Div. Feb. 15, 2017) citing U.S. Bank N.A.

  v. Guillaume, 209 N.J. 449 (2012).

                 We would go a step further and propose that if the opening of defaults are

  afforded liberal standards in the interest of justice, all the more so in this case where the

  Default as not been entered and there will be no prejudice to the Plaintiffs. There has been


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  no Default entered, no reliance interest created, and no concern about springing a Defense

  on a complacent Plaintiff months or years after entry of a Default.

                 The excusable neglect in this case is the Defendants understanding with the

  Plaintiffs and with the Plaintiff’s [ex-]husband that this matter was Stayed through the

  resolution of the underlying matrimonial action. Perhaps the Defendants misunderstood,

  but it was reasonable for a non-lawyer from out-of-state who had no knowledge of

  New Jersey process to rely on their layman’s understanding that the case was on hold.

  Once the Defendants learned of the Motion for Entry of Default the Defendants

  immediately presented themselves to the Court and now oppose the entry of the Default.

                 Contrast this situation with the case of Akegan v. Fagans, Index. A-1477-

  15T3, 2017 N.J. Super. Unpub. LEXIS 2590 (App.Div. 2017). In Akegan, the Honorable

  Judge Wilson of this Court denied a Motion to Vacate where the Defendant was served in

  April 2014 and failed to come to court to vacate the default until July 2015 – more than

  fifteen months later.

                 We would propose that this case is more in line with the matter of

  Dori v. Shavit, Docket No. BER-L-007844-2019, where the Defendant appeared in Court

  six months after the entry of Default and after a motion to Enforce Litigants Rights was

  filed. The Defendant in Dori explained that they misunderstood whether they were

  represented by counsel and provided an Answer with a general denial of the allegations in

  the Complaint. In Dori, the Honorable Judge Wilson vacated the entry of default and

  restored the case to the calendar (Order in Dori v. Shavit, Docket No. BER-L-007844-2019

  (Super.Ct. Bergen Co. Sept. 11, 2020)).




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          B.      THE DEFENDANTS’ MERITORIOUS DEFENSE

                  If Granted Leave, the Defendants will move to Dismiss and otherwise put

  forth a Meritorious Defense.

                  This is not the place for the Defendants to argue their Motion to Dismiss,

  and as proposed in the Defendants’ Proposed Order, they will move to Dismiss within

  seven (7) days of the entry of an Order denying the Motion to Enter Default.

                  That said, generally speaking and without prejudice to further and other

  arguments that the Defendants will put forth in full in their Memorandum of Support of

  their Motion to Dismiss; the causes of action for equitable relief (Unjust Enrichment) and

  the causes of action for Fraud and Conversion must be dismissed with prejudice. The other

  claims are all denied in full.

                  i.      Fraud is Not Well Plead

                  Rule 4:5-8(a) requires that: “in all allegations of misrepresentation, fraud .

  . . particulars of the wrong, with dates and items if necessary, shall be stated insofar as

  practicable.”

                  In their Complaint, the Plaintiffs make only the vaguest allegations about

  Levine’s supposed “misrepresentations” about his credentials, qualifications, and abilities

  (Complaint ¶ 31).     There are no allegations about what, when, where and how the

  statements were made. There is no allegation in the Complaint of anything that rises above

  the level of “‘puffery’ or ‘vague and ill-defined opinions’ [which are] not assurances of

  fact and thus do not constitute misrepresentations.” Alexander v. CIGNA Corp., 991 F

  Supp 427, 435 (D.N.J. 1997) affirmed 172 F.3d 859 (3d Cir. 1998). Alexander also cites

  the case of VT Investors v. R & D Funding Corp., 733 F.Supp. 823, 838 (D.N.J. 1990)

  where statements of specific financial goals were found to be non-actionable “puffery”.

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                 As will be fully argued in the Motion to Dismiss, the Cause of Action for

  Fraud poisons the well without any factual basis and without even an attempt to fulfill the

  heightened pleading requirements for such damning allegations. It is a breach of contract

  claim dressed up as “fraud” and must be dismissed with prejudice.



                 ii.    Unjust Enrichment is Not Well Plead

                 Unjust enrichment is plainly inapplicable here because there is an adequate

  remedy at law. See, e.g., Bender, Inc. v. Jos. L. Muscarelle, Inc., 304 N.J. Super. 282, 285

  (App.Div 1997) citing Callano v Oakwood Park Homes Corp., 91 N.J. Super 105

  (App.Div. 1966)(“Recovery on the theory of quasi-contract was developed under the law

  to provide a remedy where none existed.”).

                 In this case, the Plaintiffs alleged causes of action for breach of contract and

  other legal claims. Unjust Enrichment cannot lie and the Defendants respectfully submit

  the claim of Unjust Enrichment cannot be proceed because it duplicates the legal claims.

  Therefore the claim for Unjust Enrichment must be dismissed with prejudice.



                 iii.   Conversion is Not Well Plead

                 Under New Jersey law, for a claim of Conversion to lie: “there must be

  some repudiation by the defendant of the owner's right, or some exercise of dominion over

  them by him inconsistent with such right, or some act done which has the effect of

  destroying or changing the quality of the chattel.” Meisels v Fox Rothschild LLP, 240 N.J.

  286, 304 (2020) citing Mueller v. Tech. Devices Corp., 8 NJ 201, 207 (1951); Farrow v.

  Ocean County Trust Co., 121 N.J.L. 344 (S.Ct. 1938); and other cases.




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                  No allegations in the Complaint establish any alleged dominion that the

  Defendants exercised over the Plaintiffs’ chattel and therefore the cause of action for

  Conversion must be dismissed with prejudice.


                  iv.       The Substantive Claims of the Complaint are Denied

                  The Defendants deny the substantive claims of the Complaint (Levine

  Certification at ¶ 14).


          C.     THE PLAINTIFFS WILL NOT BE PREJUDICED

                  The cases described above address Defendants who appear and seek to re-

  open Defaults months – years, in many situations described in the caselaw – after the

  Formal Entry of Default and Entry of Judgment.

                  Not so, here.

                  The Defendants were misinformed about the progress of this case as they

  awaited the outcome of the matrimonial action. They were unable to obtain information

  about the proceedings taking place out-of-state (from their perspective) and are alleged to

  have erroneously failed to respond. The Motion to Enter Default was a wake-up call for

  the Defendants to obtain local New Jersey representation, which they have now done. But

  the short delay, which caused no prejudice to the Plaintiffs, should not be a death sentence

  for the Defendants’ defense.

                  If this Motion for Entry of Default is denied, the Defendants will promptly

  file the Motion to Dismiss and the Honorable Court will have the opportunity to hear this

  case on its merits without prejudice to the Plaintiffs who have not had to wait months/years.

  Nor did the Plaintiffs have any reliance interest in the stability of the Entry of Default or

  Entry of Final Judgment because neither of those have yet happened.

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                IV.      CONCLUSION


                For the reasons described above, the Motion for Entry of Default should be

  denied. And the Defendants respectfully propose that they be given seven (7) days from

  the entry of the Order denying the Motion to file their Motion to Dismiss and/or otherwise

  respond to the Complaint. A Proposed Order is submitted contemporaneously with the

  filing of this Memo.




  DATED:        AUGUST 26, 2021

                                              RESPECTFULLY SUBMITTED,

                                       By:
                                              BARUCH S. GOTTESMAN, ESQ.
                                              New Jersey Attorney I.D. No. 02222-2006
                                              185-12 Union Turnpike
                                              Fresh Meadows, NY 11366*
                                              Phone: (212) 401-6910
                                              e-mail: bg@gottesmanlegal.com
                                              Attorney for Defendants




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TAMAR GRUENBAUM; and                                    SUPERIOR COURT OF NEW JERSEY
TAMAR GRUENBAUM DDS, LLC,                               LAW DIVISION: BERGEN COUNTY
doing business as RIDGEWOOD VALLEY
PEDIATRIC DENTISTRY,                                    Docket No. BER-L -003840-2021

                      Plaintiffs,                                       CIVIL ACTION

      ~ versus ~
                                                                     [PROPOSED] ORDER
JOSH LEVINE, CPA; and
JOSH LEVINE CPA P.C. doing business as
LEVINE & ASSOCIATES; and
EHCM LLC,

                      Defendants.


              THIS MATTER having been opened to the Court by the Braverman,

Kaskey, Garber P.C., counsel for the Plaintiffs TAMAR GRUENBAUM; and TAMAR

GRUENBAUM DDS, LLC, doing business as RIDGEWOOD VALLEY PEDIATRIC

DENTISTRY for entry of a Final Judgment by Default pursuant to R. 4:43-2 against

Defendants JOSH LEVINE, CPA; and JOSH LEVINE CPA P.C. doing business as

LEVINE & ASSOCIATES; and EHCM LLC, and the Court having considered the

submissions by the Parties,

              It is on this ___th day of August 2021, ORDERED as follows:

              1. The Application for Entry of Default is Denied.

              2. A copy of this Order shall be served on the Defendants within seven (7)

                   days of entry and receipt by the Plaintiffs through NJ eCourts.
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            3. Defendants shall have seven (7) days from the entry of this Order to file

               a Motion to Dismiss the Complaint and/or to otherwise respond to the

               Complaint.




                                                 _________________________
                                                                   , J.S.C.

The Motion was Opposed
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185-12 Union Turnpike
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Phone: (212) 401-6910
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N.J. Attorney I.D. No. 02222-2006
Counsel for Defendants

TAMAR GRUENBAUM; and                                 SUPERIOR COURT OF NEW JERSEY
TAMAR GRUENBAUM DDS, LLC,                            LAW DIVISION: BERGEN COUNTY
doing business as RIDGEWOOD VALLEY
PEDIATRIC DENTISTRY,                                 Docket No. BER-L -003840-2021

                    Plaintiffs,                                      CIVIL ACTION

      ~ versus ~
                                                                  NOTICE OF MOTION
JOSH LEVINE, CPA; and
JOSH LEVINE CPA P.C. doing business as
LEVINE & ASSOCIATES; and
EHCM LLC,

                    Defendants.


TO THE HONORABLE COURT AND COUNSEL FOR THE PLAINTIFFS:

 The Court via NJ eCourts               Counsel for the Plaintiffs via NJ eCourts
 Superior Court of New Jersey           Braverman Kaskey Garber P.C.
 Law Division                           Benjamin A. Garber, Esq.
 10 Main Street                         One Liberty Place, 56th Floor
 Hackensack, NJ 07601                   1650 Market Street
                                        Philadelphia, PA 19103

              PLEASE TAKE NOTICE that the Undersigned counsel for the Defendants that

JOSH LEVINE, CPA; and JOSH LEVINE CPA P.C. doing business as LEVINE &

ASSOCIATES; and EHCM LLC, hereby respectfully apply to the Superior Court of New Jersey,

Law Division, Bergen County at 10 Main Street, Hackensack, NJ 07601 for an Order Vacating the

Default, Restoring this Matter to the Active Trial Calendar, Entering an Appearance by the

Undersigned as Counsel to the Defendants, and Consolidating this Action with the Matter of

Gruenbaum v. Ackerman, BER-L-003841-2021.
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              PLEASE TAKE NOTICE that in Support of their Application, the Defendants

respectfully rely on the Attached Certification by Defendant Josh Levine, and the Memorandum

of Law in Support by Baruch S. Gottesman, Esq.

              NOTICE: IF YOU WANT TO RESPOND TO THIS MOTION
              YOU MUST DO SO IN WRITING.

              Your written response must be in the form of a certification or
              affidavit. That means that the person signing it swears to the truth of
              the statements in the certification or affidavit and is aware that the
              court can punish him or her if the statements are knowingly false.
              You may ask for oral argument, which means you can ask to appear
              before the court to explain your position. If the court grants oral
              argument, you will be notified of the time, date, and place. Your
              response, if any, must be in writing even if you request oral
              argument. Any papers you send to the court must also be sent to the
              opposing party's attorney, or the opposing party if they are not
              represented by an attorney.

              PLEASE TAKE FURTHER NOTICE that Defendants respectfully request oral

argument if so allowed by the Honorable Court.



DATED:        AUGUST 26, 2021

                                             RESPECTFULLY SUBMITTED,

                                     By:
                                             BARUCH S. GOTTESMAN, ESQ.
                                             New Jersey Attorney I.D. No. 02222-2006
                                             185-12 Union Turnpike
                                             Fresh Meadows, NY 11366*
                                             Phone: (212) 401-6910
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                                             Attorney for Defendants
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                           CERTIFICATION OF SERVICE



I, Baruch S. Gottesman, Esq. certify that on August 26, 2021, I sent a copy of this Notice of

Motion, [Proposed] Order, Affidavit in Support by Josh Levine, and the Memorandum of Law in

Support by counsel to the Defendant Baruch S. Gottesman, Esq., by electronic filing (New Jersey

e-courts online system):


DATED:         AUGUST 26, 2021

                                             RESPECTFULLY SUBMITTED,

                                     By:
                                             BARUCH S. GOTTESMAN, ESQ.
                                             New Jersey Attorney I.D. No. 02222-2006
                                             185-12 Union Turnpike
                                             Fresh Meadows, NY 11366*
                                             Phone: (212) 401-6910
                                             e-mail: bg@gottesmanlegal.com
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TAMAR GRUENBAUM; and                                     SUPERIOR COURT OF NEW JERSEY
TAMAR GRUENBAUM DDS, LLC,                                LAW DIVISION: BERGEN COUNTY
doing business as RIDGEWOOD VALLEY
PEDIATRIC DENTISTRY,                                     Docket No. BER-L -003840-2021

                      Plaintiffs,                                        CIVIL ACTION

       ~ versus ~
                                                                     [PROPOSED] ORDER
JOSH LEVINE, CPA; and
JOSH LEVINE CPA P.C. doing business as
LEVINE & ASSOCIATES; and
EHCM LLC,

                      Defendants.


               THIS MATTER having been opened to the Court by the Baruch S.

Gottesman, Esq., of the Law Offices of Baruch Gottesman, Esq., counsel for the

Defendants JOSH LEVINE, CPA, JOSH LEVINE CPA P.C. doing business as

LEVINE & ASSOCIATES and EHCM LLC, upon Notice of Motion for an Order to

Vacate the Default, Restore the Case to the Active Trial Calendar, and to Consolidate this

Action with Gruenbaum, et al. v. Ackerman, et al., Docket No. BER-L-003841-21;



               THEREFORE, it is on this ___th day of September, 2021, that

               IT IS NOW ORDERED pursuant to New Jersey Court Rules 4:43-2 and

4:50 and other relevant provisions of New Jersey law, that any default that has been entered

against the Defendants JOSH LEVINE, CPA, JOSH LEVINE CPA P.C. doing business as

LEVINE & ASSOCIATES and EHCM LLC, in this matter is hereby vacated; and the
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within matter is hereby restored to the Active Trial Calendar, with an appearance on behalf

of the Defendants is hereby entered by Baruch S. Gottesman, Esq.

               AND IT IS NOW FURTHER ORDERED pursuant to New Jersey Court

Rule 4:38-1 and other relevant provisions of New Jersey law, and for good cause shown,

that this matter is consolidated with the matter of Gruenbaum, et al. v. Ackerman, et al.,

Docket No. BER-L-003841-21; and that the Levine and Ackerman actions shall proceed

on Track II under the following the Docket No. BER-L-004840-21 matter under the

following amended caption:



TAMAR GRUENBAUM; and                                    SUPERIOR COURT OF NEW JERSEY
TAMAR GRUENBAUM DDS, LLC,                               LAW DIVISION: BERGEN COUNTY
doing business as RIDGEWOOD VALLEY
PEDIATRIC DENTISTRY,                                    Docket No. BER-L -003840-2021

                      Plaintiffs,

       ~ versus ~                                                       CIVIL ACTION

SHANALEE ACKERMAN;
ACKERMAN PRACTICE MANAGEMENT,
LLC; JOSH LEVINE, CPA; and
JOSH LEVINE CPA P.C. doing business as
LEVINE & ASSOCIATES; and
EHCM LLC,

                      Defendants.
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               IT IS NOW FURTHER ORDERED, that _________________________

________________________________________________________________________

________________________________________________________________________

               IT IS NOW FURTHER ORDERED, that a copy of this Order be served via

New Jersey e-Courts on all Parties within Seven (7) days of its entry.




                                                     _________________________
                                                                       , J.S.C.

The Motion was

_________ Opposed

_________ Not Opposed
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BARUCH S. GOTTESMAN, ESQ.
185-12 Union Turnpike
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N.J. Attorney I.D. No. 02222-2006
Counsel for Defendants

TAMAR GRUENBAUM; and                                 SUPERIOR COURT OF NEW JERSEY
TAMAR GRUENBAUM DDS, LLC,                            LAW DIVISION: BERGEN COUNTY
doing business as RIDGEWOOD VALLEY
PEDIATRIC DENTISTRY,                                 Docket No. BER-L -003840-2021

                    Plaintiffs,                                      CIVIL ACTION

      ~ versus ~
                                                                  NOTICE OF MOTION
JOSH LEVINE, CPA; and
JOSH LEVINE CPA P.C. doing business as
LEVINE & ASSOCIATES; and
EHCM LLC,

                    Defendants.


TO THE HONORABLE COURT AND COUNSEL FOR THE PLAINTIFFS:

 The Court via NJ eCourts               Counsel for the Plaintiffs via NJ eCourts
 Superior Court of New Jersey           Braverman Kaskey Garber P.C.
 Law Division                           Benjamin A. Garber, Esq.
 10 Main Street                         One Liberty Place, 56th Floor
 Hackensack, NJ 07601                   1650 Market Street
                                        Philadelphia, PA 19103

              PLEASE TAKE NOTICE that the Undersigned counsel for the Defendants that

JOSH LEVINE, CPA; and JOSH LEVINE CPA P.C. doing business as LEVINE &

ASSOCIATES; and EHCM LLC, hereby respectfully apply to the Superior Court of New Jersey,

Law Division, Bergen County at 10 Main Street, Hackensack, NJ 07601 for an Order Vacating the

Default, Restoring this Matter to the Active Trial Calendar, Entering an Appearance by the

Undersigned as Counsel to the Defendants, and Consolidating this Action with the Matter of

Gruenbaum v. Ackerman, BER-L-003841-2021.
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              PLEASE TAKE NOTICE that in Support of their Application, the Defendants

respectfully rely on the Attached Certification by Defendant Josh Levine, and the Memorandum

of Law in Support by Baruch S. Gottesman, Esq.

              NOTICE: IF YOU WANT TO RESPOND TO THIS MOTION
              YOU MUST DO SO IN WRITING.

              Your written response must be in the form of a certification or
              affidavit. That means that the person signing it swears to the truth of
              the statements in the certification or affidavit and is aware that the
              court can punish him or her if the statements are knowingly false.
              You may ask for oral argument, which means you can ask to appear
              before the court to explain your position. If the court grants oral
              argument, you will be notified of the time, date, and place. Your
              response, if any, must be in writing even if you request oral
              argument. Any papers you send to the court must also be sent to the
              opposing party's attorney, or the opposing party if they are not
              represented by an attorney.

              PLEASE TAKE FURTHER NOTICE that Defendants respectfully request oral

argument if so allowed by the Honorable Court.



DATED:        AUGUST 26, 2021

                                             RESPECTFULLY SUBMITTED,

                                     By:
                                             BARUCH S. GOTTESMAN, ESQ.
                                             New Jersey Attorney I.D. No. 02222-2006
                                             185-12 Union Turnpike
                                             Fresh Meadows, NY 11366*
                                             Phone: (212) 401-6910
                                             e-mail: bg@gottesmanlegal.com
                                             Attorney for Defendants
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                           CERTIFICATION OF SERVICE



I, Baruch S. Gottesman, Esq. certify that on August 26, 2021, I sent a copy of this Notice of

Motion, [Proposed] Order, Affidavit in Support by Josh Levine, and the Memorandum of Law in

Support by counsel to the Defendant Baruch S. Gottesman, Esq., by electronic filing (New Jersey

e-courts online system):


DATED:         AUGUST 26, 2021

                                             RESPECTFULLY SUBMITTED,

                                     By:
                                             BARUCH S. GOTTESMAN, ESQ.
                                             New Jersey Attorney I.D. No. 02222-2006
                                             185-12 Union Turnpike
                                             Fresh Meadows, NY 11366*
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  N.J. Attorney I.D. No. 02222-2006
  Counsel for Defendants

  TAMAR GRUENBAUM; and                               SUPERIOR COURT OF NEW JERSEY
  TAMAR GRUENBAUM DDS, LLC,                          LAW DIVISION: BERGEN COUNTY
  doing business as RIDGEWOOD VALLEY
  PEDIATRIC DENTISTRY,                               Docket No. BER-L -003840-2021

                      Plaintiffs,

        ~ versus ~

  JOSH LEVINE, CPA; and
  JOSH LEVINE CPA P.C. doing business as
  LEVINE & ASSOCIATES; and
  EHCM LLC,

                      Defendants.




                MEMORANDUM OF LAW BY DEFENDANTS
                        IN SUPPORT OF MOTION TO
                 VACATE DEFAULT AND OTHER RELIEF




                     Respectfully Submitted August 26, 2021
                         by Baruch S. Gottesman, Esq.


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  I.     INTRODUCTORY STATEMENT

                  The Defendants learned of the Motion for Default and immediately

  appeared through counsel to oppose the Motion. If the Honorable Court found the

  opposition to Motion for Default to be untimely and it was entered, then for the reasons

  described in this Memorandum of Law, the Defendants respectfully request that the

  Honorable Vacate the Default and restore the case to the active Trial Calendar.

                  The arguments here largely mirror those in the Defendants opposition to the

  Motion for Entry of Default. In addition, they may be moot if the no Entry of Default was

  entered.

                  Therefore, to avoid duplication, we begin with a discussion of the request

  to consolidate this case with the companion case of Gruenbaum v. Ackerman, et al., BER-

  L-3841-2021. It would be consistent with the rules and help conserve judicial resources to

  consolidate these cases and have the same set of claims and nucleus of operative facts heard

  in a single case. We then address the Default.



  II.    FACTUAL AND PROCEDURAL BACKGROUND

                  The Gruenbaum cases were filed seriatum. They are docketed as 3840

  (Gruenbaum v. Levine) and 3841 (Gruenbaum v. Ackerman). They involve the same

  Plaintiffs and two sets of Defendants who will both be represented by the same counsel

  (the Undersigned).

                  Both cases involve the alleged provision of accounting services by the two

  sets of Defendants and identify the same causes of action. Both cases are assigned to the

  same Justice.



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                 And in substance, the cases arise from the same alleged factual issues.

                 The Ackerman Complaint alleges:

                 “One of the most egregious examples [of Ackerman’s
                 wrongdoing] being Ackerman’s recommendation of an
                 accounting firm, Levine & Associates LLC, whose services
                 were deficient and have resulted in IRS scrutiny in
                 connection with which plaintiffs have suffered financial
                 losses, fees, costs, expenses, and penalties.”

                 Ackerman Complaint, Docket No. 3851-2021, Complaint at ¶ 44.

                 The division of the single fact pattern into two cases may result in entirely

  inconsistent rulings. The “most egregious” example of the wrongdoing in the Ackerman

  case is the same issue in this case. If the cases are not consolidated, the same nucleus of

  operative facts will be adjudicated in two separate proceedings, with potential conflicting

  decisions and findings.

                 For this reason, consolidation is appropriate.



                 We turn now to the facts and circumstances that gave rise to the Defendants’

  default. To emphasize, these facts (and the argument below) on the issue mirror those in

  the opposition to the Motion for Entry of Default returnable on August 27, 2021. If this

  Court already restored this case to the Trial Calendar, then this section (and the relevant

  argument below) is moot.

                 As alleged in the Complaint (¶¶ 23, 25) and further explained in the

  Certification by Defendant Josh Levine (¶ 7), the Levine Defendants provided accounting

  services to the Plaintiff, her then-husband, and the couple’s businesses. As described in



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  the Complaint (¶ 36) and further explained in the Certification by Defendant Josh Levine

  (¶¶ 8 and 9) the services provided by the Defendants became an issue in the Individual

  Plaintiff’s divorce proceedings that remain ongoing in the State of New York.

                 Through no wrongdoing on the Defendants’ part, they found themselves

  dragged into a contentious matrimonial action out of state across the Hudson.

                 This lawsuit filed.

                 The scattershot claims in this Complaint are self-contradictory (Compare

  Complaint ¶ 42 alleging that the Plaintiffs were induced into hiring the Defendants for

  payroll services; with Complaint ¶ 43 alleging Defendants referred the Plaintiff to a third-

  party payroll services provider); not actionable (See, e.g., Complaint ¶ 49, Count I for

  Breach of Contract and Complaint ¶ 65, Count V seeking recovery for Unjust Enrichment

  where there is an adequate remedy at law), and otherwise cannot support the causes of

  action put forward in the Complaint. If the case would move forward, the Defendants

  intended to move to Dismiss. But that was put on hold.

                 Without disclosing the substance of settlement negotiations, the Defendants

  thought that they were in discussions about the resolution of this case and understood that

  this case would be or was Stayed pending the resolution of the Plaintiffs’ matrimonial

  action in New York (Levine Certification ¶ 13). The Defendants were blindsided.

                 The Defendants just become aware that a Motion for Entry of Default was

  filed against them and quickly appeared to respectfully but emphatically oppose the entry

  of Default and of a Final Judgment, as explained in this Memorandum.




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  III.   ARGUMENT:

         A.     THE CASES SHOULD BE CONSOLIDATED

                 The Rules Provide:

                 “When actions involving a common question of law or fact
                 arising out of the same transaction or series of transactions
                 are pending in the Superior Court, the court on a party's or
                 its own motion may order the actions consolidated.”

                 N.J. Court Rules, R. 4:38-1

                 A key consideration is whether, “absent consolidation, two juries could

  reach inconsistent verdicts if the jury in the first action plaintiff’s [damage] to the injuries

  sustained in the second accident, and jury in the second action attributes the plaintiff’s

  [damage] to the injuries she sustained in the first accident”. Moraes v. Wesler, 439 N.J.

  Super 375, 379, 109 A3d 218, 221 (App.Div. 2015). See also Ajpacaja .v Pro-Line Bldrs.,

  Docket No. A-3699-18T2, 2020 N.J. Super. Unpub. LEXIS 2022, at *6 (App.Div. Oct. 20,

  2020)(“Our court rules and case law strive to avoid piecemeal decisions. For example, the

  entire controversy doctrine seeks to assure that all aspects of a legal dispute occur in a

  single lawsuit. The goal is to promote judicial efficiency, assure fairness to all parties with

  a material interest in an action, and encourage the conclusive determination of a legal

  controversy.” (citations omitted)).

                  The Ackerman Complaint alleges that:

                 “[o]ne of the most egregious examples [of Ackerman’s
                 wrongdoing] being Ackerman’s recommendation of an
                 accounting firm, Levine & Associates LLC, whose services
                 were deficient and have resulted in IRS scrutiny in
                 connection with which plaintiffs have suffered financial
                 losses, fees, costs, expenses, and penalties.”

                 Gruenbaum v. Ackerman, Docket No. 3851-2021, Complaint at ¶ 44.




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                 The allegation that Levine & Associates’ services were deficient are also

  the basis for the claims in this case. See, e.g., Complaint ¶¶ 39, 53, et passim.

                 Let’s transport ourselves into the conference room as the Jury considers the

  trial they just observed in this case. Our Jury will naturally find that Levine & Associates

  did not act wrongly and their services were not deficient. Across the hallway, though, the

  Ackerman trial has concluded and the Ackerman Jury is considering the same factual

  questions. Let’s imagine that the Ackerman jury reaches the opposite conclusion as their

  friends across the hall – the Ackerman jury concludes as a factual matter that Levine &

  Associates services were deficient.

                 The bell rings and the two juries return with their verdict.

                 The Levine jury finds as a factual matter that the services were not deficient.

  Their friends across the hall in the Ackerman jury find that the services were deficient.

  Where does that leave the parties?

                 Plainly, the two cases which are premised on the same nucleus of operative

  facts belong in the same Courtroom, before the same Judge, and in a single action where

  the two sets of Defendants can put forth a joint defense covering the same legal and factual

  questions. This will allow the legal conclusions during Motion practice, and factual

  conclusions of the factfinder will be consistent.

                 For these reasons, the Defendants with the consent of the Ackerman

  Defendants (who are represented by the undersigned counsel) respectfully move to

  consolidate the two actions under the 3841/21 Docket Number. A proposed Order is filed

  simultaneously with this Memo.




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         B.     THE DEFENDANTS’ EXCUSABLE NEGLECT

                 The Default issues are moot if the Entry of Default did not occur. Therefore,

  if this case has been restored to the trial calendar, the reader can jump to the conclusion on

  Page 13.

                 The Defendants understood – perhaps misunderstood – that the case was

  Stayed pending the resolution of the underlying matrimonial action. Certification at ¶ 13.

                 The Rules Provide:

                 “On motion, with briefs, and upon such terms as are just, the
                 court may relief a party . . . from a final judgment or order
                 for the following reasons: (a) mistake, inadvertence,
                 surprise, or excusable neglect.”

                 Rule 4:50-1(a).

                 The Supreme Court explained that “[g]enerally, a defendant seeking to

  reopen a default judgment because of excusable neglect must show that the failure to

  answer was excusable under the circumstances and that a meritorious defense is available.”

  Hous. Auth. of Morristown v. Little, 135 N.J. 274, 284 (1994). The standard for opening

  defaults, we are told, “should be viewed with great liberality, and every reasonable ground

  for indulgence is tolerated to the end that a just result is reached.” Housing Authority of

  Morristown, Id. at 283-84 citing Marder v. Realty Constr. Co., 84 N.J.Super. 313, 318-319

  (App. Div. 1964).

                 “An application to vacate a default, pursuant to the Rule 4:43-2, is indulged

  with even greater liberality.” Paul Sciarra, LLC v. Freeman, Docket No. A-0559-16T1,

  2017 N.J. Super.Unpub. LEXIS 359, at * 3 (App.Div. Feb. 15, 2017) citing U.S. Bank N.A.

  v. Guillaume, 209 N.J. 449 (2012).




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                 We would go a step further and propose that if the opening of defaults are

  afforded liberal standards in the interest of justice, all the more so in this case where the

  Default as not been entered and there will be no prejudice to the Plaintiffs. There has been

  no Default entered, no reliance interest created, and no concern about springing a Defense

  on a complacent Plaintiff months or years after entry of a Default.

                 The excusable neglect in this case is the Defendants understanding with the

  Plaintiffs and with the Plaintiff’s [ex-]husband that this matter was Stayed through the

  resolution of the underlying matrimonial action. Perhaps the Defendants misunderstood,

  but it was reasonable for a non-lawyer from out-of-state who had no knowledge of

  New Jersey process to rely on their layman’s understanding that the case was on hold.

  Once the Defendants learned of the Motion for Entry of Default the Defendants

  immediately presented themselves to the Court and now oppose the entry of the Default.

                 Contrast this situation with the case of Akegan v. Fagans, Index. A-1477-

  15T3, 2017 N.J. Super. Unpub. LEXIS 2590 (App.Div. 2017). In Akegan, the Honorable

  Judge Wilson of this Court denied a Motion to Vacate where the Defendant was served in

  April 2014 and failed to come to court to vacate the default until July 2015 – more than

  fifteen months later.

                 We would propose that this case is more in line with the matter of

  Dori v. Shavit, Docket No. BER-L-007844-2019, where the Defendant appeared in Court

  six months after the entry of Default and after a motion to Enforce Litigants Rights was

  filed. The Defendant in Dori explained that they misunderstood whether they were

  represented by counsel and provided an Answer with a general denial of the allegations in

  the Complaint. In Dori, the Honorable Judge Wilson vacated the entry of default and




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  restored the case to the calendar (Order in Dori v. Shavit, Docket No. BER-L-007844-2019

  (Super.Ct. Bergen Co. Sept. 11, 2020)).



          C.      THE DEFENDANTS’ MERITORIOUS DEFENSE

                  If Granted Leave, the Defendants will move to Dismiss and otherwise put

  forth a Meritorious Defense.

                  This is not the place for the Defendants to argue their Motion to Dismiss,

  and as proposed in the Defendants’ Proposed Order, they will move to Dismiss within

  seven (7) days of the entry of an Order denying the Motion to Enter Default.

                  That said, generally speaking and without prejudice to further and other

  arguments that the Defendants will put forth in full in their Memorandum of Support of

  their Motion to Dismiss; the causes of action for equitable relief (Unjust Enrichment) and

  the causes of action for Fraud and Conversion must be dismissed with prejudice. The other

  claims are all denied in full.

                  i.      Fraud is Not Well Plead

                  Rule 4:5-8(a) requires that: “in all allegations of misrepresentation, fraud .

  . . particulars of the wrong, with dates and items if necessary, shall be stated insofar as

  practicable.”

                  In their Complaint, the Plaintiffs make only the vaguest allegations about

  Levine’s supposed “misrepresentations” about his credentials, qualifications, and abilities

  (Complaint ¶ 31).     There are no allegations about what, when, where and how the

  statements were made. There is no allegation in the Complaint of anything that rises above

  the level of “‘puffery’ or ‘vague and ill-defined opinions’ [which are] not assurances of

  fact and thus do not constitute misrepresentations.” Alexander v. CIGNA Corp., 991 F

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  Supp 427, 435 (D.N.J. 1997) affirmed 172 F.3d 859 (3d Cir. 1998). Alexander also cites

  the case of VT Investors v. R & D Funding Corp., 733 F.Supp. 823, 838 (D.N.J. 1990)

  where statements of specific financial goals were found to be non-actionable “puffery”.

                 As will be fully argued in the Motion to Dismiss, the Cause of Action for

  Fraud poisons the well without any factual basis and without even an attempt to fulfill the

  heightened pleading requirements for such damning allegations. It is a breach of contract

  claim dressed up as “fraud” and must be dismissed with prejudice.



                 ii.    Unjust Enrichment is Not Well Plead

                 Unjust enrichment is plainly inapplicable here because there is an adequate

  remedy at law. See, e.g., Bender, Inc. v. Jos. L. Muscarelle, Inc., 304 N.J. Super. 282, 285

  (App.Div 1997) citing Callano v Oakwood Park Homes Corp., 91 N.J. Super 105

  (App.Div. 1966)(“Recovery on the theory of quasi-contract was developed under the law

  to provide a remedy where none existed.”).

                 In this case, the Plaintiffs alleged causes of action for breach of contract and

  other legal claims. Unjust Enrichment cannot lie and the Defendants respectfully submit

  the claim of Unjust Enrichment cannot be proceed because it duplicates the legal claims.

  Therefore the claim for Unjust Enrichment must be dismissed with prejudice.



                 iii.   Conversion is Not Well Plead

                 Under New Jersey law, for a claim of Conversion to lie: “there must be

  some repudiation by the defendant of the owner's right, or some exercise of dominion over

  them by him inconsistent with such right, or some act done which has the effect of

  destroying or changing the quality of the chattel.” Meisels v Fox Rothschild LLP, 240 N.J.

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  286, 304 (2020) citing Mueller v. Tech. Devices Corp., 8 NJ 201, 207 (1951); Farrow v.

  Ocean County Trust Co., 121 N.J.L. 344 (S.Ct. 1938); and other cases.

                  No allegations in the Complaint establish any alleged dominion that the

  Defendants exercised over the Plaintiffs’ chattel and therefore the cause of action for

  Conversion must be dismissed with prejudice.


                  iv.       The Substantive Claims of the Complaint are Denied

                  The Defendants deny the substantive claims of the Complaint (Levine

  Certification at ¶ 14).


          D.     THE PLAINTIFFS WILL NOT BE PREJUDICED

                  The cases described above address Defendants who appear and seek to re-

  open Defaults months – years, in many situations described in the caselaw – after the

  Formal Entry of Default and Entry of Judgment.

                  Not so, here.

                  The Defendants were misinformed about the progress of this case as they

  awaited the outcome of the matrimonial action. They were unable to obtain information

  about the proceedings taking place out-of-state (from their perspective) and are alleged to

  have erroneously failed to respond. The Motion to Enter Default was a wake-up call for

  the Defendants to obtain local New Jersey representation, which they have now done. But

  the short delay, which caused no prejudice to the Plaintiffs, should not be a death sentence

  for the Defendants’ defense.

                  If this Motion for Entry of Default is denied, the Defendants will promptly

  file the Motion to Dismiss and the Honorable Court will have the opportunity to hear this

  case on its merits without prejudice to the Plaintiffs who have not had to wait months/years.

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  Nor did the Plaintiffs have any reliance interest in the stability of the Entry of Default or

  Entry of Final Judgment because neither of those have yet happened.




                 IV.       CONCLUSION


                 For the reasons described above, the Default should be Vacated and the case

  restored to the Trial Calendar. In addition, this case should be consolidated with its sister

  action (the Ackerman case). A proposed Order is submitted contemporaneously with the

  filing of this Motion.




  DATED:         AUGUST 26, 2021

                                                RESPECTFULLY SUBMITTED,

                                        By:
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 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                 SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                    JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                      BERGEN COUNTY

                     Plaintiffs,           Docket No. BER-L -003840-2021

               v.                          CIVIL ACTION

 JOSH LEVINE, CPA; JOSH LEVINE
 CPA P.C. d/b/a LEVINE &
 ASSOCIATES; and EHCM LLC,

                     Defendants.




                    MEMORANDUM OF LAW BY PLAINTIFFS

                        IN OPPOSITION TO MOTION TO

                    VACATE DEFAULT AND OTHER RELIEF
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I. INTRODUCTORY STATEMENT

      Plaintiff Tamar Gruenbaum, DDS (“Dr. Gruenbaum”) is the owner of a local

pediatric dental practice known as Tamar Gruenbaum DDS, LLC d/b/a Ridgewood

Valley Pediatric Dentistry (the “Practice”; collectively, the “plaintiffs”). Dr.

Gruenbaum hired defendants Josh Levine, CPA, Josh Levine CPA P.C. d/b/a Levine

& Associates, and EHCM LLC (collectively, the “defendants”) to provide accounting

and tax related services. Among other things, defendants agreed to handle all the

Practice’s accounting and tax needs, including, but not limited to, preparing, and

timely filing all federal and state tax returns, handling its payroll taxes,

maintaining its QuickBooks, and preparing quarterly profit and loss statements.

Defendants were also engaged as Dr. Gruenbaum’s personal accountant. However,

defendants’ services were utterly deficient. Defendants failed to act in plaintiffs’

best interests, and their services were procured through defendants’

misrepresentations as to their qualifications and abilities.


      Plaintiffs brought suit against defendants by filing a complaint in this Court

which contains a variety of claims (the “Complaint”). When defendants failed to

timely respond or otherwise move as to the Complaint, plaintiffs filed a default

against each of the defendants. When defendants again failed to timely respond or

otherwise move as to the default, plaintiffs filed a Motion for Final Judgment by

Default against each defendant.




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      On August 27, 2021, this Court granted plaintiffs’ motion and entered a final

judgment by default. Defendants have now filed a Motion to Vacate the Judgment

and Other Relief, such other relief being a request to consolidate this case with a

separate action (the “Motion”). Defendants’ Motion must be denied because

defendants fail to show that: (1) their failure to respond was excusable under the

circumstances; (2) they have any meritorious defenses; and (3) consolidation would

be proper.


II. FACTUAL AND PROCEDRUAL BACKGROUND

      Dr. Gruenbaum grew up in Teaneck, New Jersey and earned her D.D.S. from

Columbia University College of Dental Medicine. Compl. ¶ 14. She completed a

general practice residency at Montefiore Medical Center in Bronx, New York and

then completed her post-graduate training in pediatric dentistry at Maimonides

Medical Center in Brooklyn, New York, where she served as chief resident during

her second year. Id. ¶¶ 15-16. Now, Dr. Gruenbaum owns the Practice, which

provides comprehensive dental care to children from infancy through their teenage

years. Id. ¶ 18. In December 2017, Dr. Gruenbaum retained defendants as the

Practice’s accountant and tax professionals. Id. ¶ 19. Defendants were also

engaged as Dr. Gruenbaum’s personal accountants. Id. ¶ 23.


      Pursuant to the parties’ agreement, defendants agreed to handle all the

Practice’s accounting and tax needs, including, but not limited to, preparing, and

timely filing all federal and state tax returns, handling its payroll taxes,

maintaining its QuickBooks, and preparing quarterly profit and loss statements.

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Defendants also agreed to provide accounting and tax services to Dr. Gruenbaum,

individually. Id. ¶¶ 24-25.


      For purposes of inducing Dr. Gruenbaum to retain his services, Levine

misrepresented that he was experienced and competent in providing accounting and

tax advice to dentists and oral surgeons. Id. ¶ 29. Defendants also misrepresented

Levine’s successes improving dental practices like Dr. Gruenbaum’s practice, as

well as the credentials, qualifications, and abilities of the company. Id. ¶¶ 30-31.

For purposes of inducing Dr. Gruenbaum to retain his services, Levine

mispresented that he was experienced and competent in providing personal tax

advice in connection with divorce proceedings. Id. ¶ 32.


      Throughout defendants’ engagement, however, defendants failed to perform

the agreed-upon and above-referenced services. Id. ¶ 33. Any services that were

provided were deficient and of no value to plaintiffs. Id. ¶ 34. As a result of

defendants’ failings, plaintiffs incurred substantial fees, costs, and expenses as well

as became the subject of an investigation by the IRS. Id. ¶¶ 36-39.


      Plaintiffs brought suit against defendants in this Court on June 14, 2021

asserting claims for breach of contract, breach of the duty of good faith and fair

dealing, breach of fiduciary duty, conversion, unjust enrichment, fraud, and

negligence. The Summons and Complaint were served on defendants on June 21,

2021. After defendants failed to timely respond or move as to the Complaint,

plaintiffs filed a default against each of the defendants. The default was served by

regular mail and certified mail on July 27, 2021; the certified mail was delivered on

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July 31, 2021. After Defendants again failed to respond or otherwise move as to the

default, on August 10, 2021, plaintiffs filed a Motion for Final Judgment by Default

against each of the defendants.


      On August 26, 2021, defendants filed an untimely response to the Motion for

Final Judgment which was not accepted by the Court until August 27, 2021. On

August 27, 2021, the Court entered final judgment. Defendants filed a Motion to

Vacate the Judgment and Other Relief, which plaintiffs now respond to, and oppose.


III. ARGUMENT

      A. THE MOTION TO VACATE THE JUDGMENT SHOULD BE DENIED

      N.J. Court Rule 4:50-1 states that “the court may relieve a party or the

party’s legal representative from a final judgment” where there is “mistake,

inadvertence, surprise, or excusable neglect.” A defendant moving to vacate a

judgment by default must show that: (1) its failure to timely respond to the relevant

pleading was the result of excusable neglect; and (2) a meritorious defense is

available. Hous. Auth. of Morristown v. Little, 135 N.J. 274, 284 (1994) (internal

citations omitted). Neglect is “excusable” where the default was “attributable to an

honest mistake that is compatible with due diligence or reasonable prudence.” U.S.

Bank Nat’l Ass’n v. Guillaume, 209 N.J. 449, 468 (2012). Excusable neglect has also

been described as “something the parties could not have protected themselves from

during the litigation.” Romero v. Gold Star Distrib., LLC, 2021 N.J. Super. LEXIS

83, at *27 (N.J. Super. 2021) (internal citation omitted). “The party seeking to

vacate a default judgment has the ‘overall burden of demonstrating that its failure

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to answer or otherwise appear and defend should be excused.’” Id. (quoting

Jameson v. Great Atl. and Pac. Tea Co., 363 N.J. Super. 419, 425-26, 833 A.2d 626

(App. Div. 2003)).


       i. The Defendants Have Not Shown Excusable Neglect


       Defendants contend that their failure to respond to the Complaint was the result of

excusable neglect because:


              •   “Without disclosing the substance of settlement negotiations, the

                  Defendants thought that they were in discussions about the resolution of

                  the case and understood that this case would be or was Stayed pending

                  the resolution of the Plaintiffs’ matrimonial action.” Memorandum of

                  Law at 5 (emphasis in original).

              •   “The Defendants were blindsided” by the Motion for Entry of Default and

                  “just become (sic) aware” that the Motion was filed against them. Id.

                  (emphasis in original).

              •   “[I]t was reasonable for a non-lawyer from out-of-state who had no

                  knowledge of New Jersey process to rely on their layman’s understanding

                  that the case was on hold.” Id. at 9.

              •   “Once the Defendants learned of the Motion for Entry of Default the

                  Defendants immediately presented themselves to the Court.” Id.


       These arguments on their face do not show that defendants’ neglect was excusable.

The undersigned counsel has never spoken with defendants or their attorney so it is

unfathomable how they could have reasonably believed there were ongoing settlement

discussions or any basis for staying the case. Moreover, defendants do not provide a single

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detail about these purported settlement discussions such as who was involved or when they

allegedly took place. The argument that defendants “thought” they were engaged in

settlement discussion and “understood” that this case was stayed is completely bogus and

wholly unsupported. As such, it does not show that defendants’ neglect was excusable.


       Defendants’ second argument, that they were “blindsided” by the Motion for Entry of

Default and “immediately” presented themselves to the Court is likewise unbelievable.

Plaintiffs’ motion was filed on August 10, 2021. If defendants had truly “immediately

presented themselves to the Court,” they would have filed a timely response by the deadline

set forth in the notice of plaintiffs’ motion—August 17, 2021, eight days before the return

date of the motion. Additionally, plaintiffs’ Motion for Entry of Judgement by Default was

filed more than a month after the Complaint was served and only after defendants were

served with the Summons, Complaint, and notice of default. Defendants were undeniably

on notice of the case against them. That it took the Motion for Entry of Judgment by

Default to be a “wake-up call for the Defendants to obtain local New Jersey representation”

in no way excuses defendants’ neglect. Memorandum of Law at 12. The situation that

defendants find themselves in is one of their own making, and is certainly something that

defendants could have protected themselves from by promptly hiring an attorney after

being served with the Complaint. See Romero, 2021 N.J. Super. LEXIS 83, at *27.


       In sum, it is clear that there was no excusable neglect here and defendants have

failed to meet their “overall burden of demonstrating that [their] failure to answer or

otherwise appear and defend should be excused.” Jameson, 363 N.J. Super. at 425-26. For

this reason, defendants’ Motion must be denied.




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      ii. The Defendants Have No Meritorious Defenses

      As stated above In addition to failing to show that the failure to timely

respond was the result of excusable neglect, defendants have likewise failed to show

that they have any meritorious defenses to plaintiffs’ claims. The Complaint

asserts claims for breach of contract, breach of the duty of good faith and fair

dealing, breach of fiduciary duty, conversion, unjust enrichment, fraud, and

negligence. In their Motion, defendants do nothing more than make boilerplate

challenges to plaintiffs’ claims for fraud, unjust enrichment and conversion.

Memorandum of Law at 10-12. Defendants do not even attempt to argue that they

have meritorious defenses to any of the other claims.

      The purported “meritorious defenses” are simply not enough to warrant the

requested relief. First, plaintiffs’ fraud claim is well pled. Second, it is well settled

that while a plaintiff cannot ultimately recover for both a breach of contract claim

and an unjust enrichment claim, it may litigate both claims as alternative theories.

See Caputo v. Nice-Pak Products, Inc., 300 N.J. Super. 498, 693 A.2d 494, 497 (App.

Div. 1997) (holding that a plaintiff could submit a claim for breach of contract and a

claim for unjust enrichment to the jury to decide “which of the two was proved”).

Third, the Complaint plainly states a claim for conversion. By way of example only,

the Complaint alleges the defendants exercised dominion and control over plaintiffs’

electronic chattel by denying Dr. Gruenbaum access to the Practice’s QuickBooks

records. Compl. ¶ 46.




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      Plaintiffs reiterate again that in this situation it is defendants’ burden to

show that they have meritorious defenses to plaintiffs’ claims. The arguments in

defendants’ Motion fall far short of meeting that burden because they: (1) fail to

show that defendants have any meritorious defenses to plaintiffs’ claims for fraud,

unjust enrichment, and conversion; and (2) fail to even suggest defendants have any

meritorious defenses to plaintiffs’ other claims.


      Further, it is clear from the Motion that defendants are requesting that the

Court vacate both the entry of default and final judgment. See Memorandum of

Law at 5 (stating that defendants oppose “the entry of Default and of a Final

Judgment); 8 (citing N.J. Court Rule 4:50-1 applicable to vacating final judgments

and Rule 4:43-2 applicable to vacating an entry of default); 9 (mistakenly arguing

that no default had been entered); 13 (requesting that “the Default” be vacated and

the case restored to the Trial Calendar). Defendants state that their Motion is “not

the place for the Defendants to argue [a] Motion to Dismiss,” id. at 10, but the Court

Rules require that all motions for the vacation of an entry of default be accompanied

by either an answer to the complaint or a dispositive motion. N.J. Court Rule 4:43-

3. Therefore, further compounding the flaws in defendants’ Motion, defendants

failed to comply with the applicable rule. As such, the Motion must be denied.


      iii. The Plaintiffs Will be Prejudiced if the Judgment is Vacated

      Defendants argue that the judgment should be vacated because doing so will

not prejudice plaintiffs. This argument fails for two reasons. First, while prejudice

is a factor that may be considered by the Court when deciding whether to vacate a

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judgment, it should only be considered after the defendant has demonstrated that it

is entitled to have the judgment vacated. See Hous. Auth. of Morristown, 135 N.J.

at 284 (holding that a judgment may only be vacated where the defendant shows

that its failure to timely respond to the relevant pleadings was the result of

excusable neglect and it has a meritorious defense to the lawsuit).


      Because defendants failed to show that they are entitled to have the

judgment vacated—because their negligence was not excused, they have not

demonstrated that they have any meritorious defenses, and they failed to attach a

dispositive motion—the Court need not reach the issue of prejudice.


      However, plaintiffs note that they spent time and money obtaining the

judgment. Additionally, they have a reliance interest in the stability of the

judgment since it was already entered. As such, vacating the judgment will

prejudice plaintiffs.


B. THE MOTION TO CONSOLIDATE SHOULD BE DENIED

      In their Motion, defendants request that the Court restore the case to the

active Trial Calendar and consolidate it with a separate action that plaintiffs

brought against different defendants. This portion of the Motion should be denied

for the reasons set forth below.


      i. The Case Should not Be Restored to the Trial Calendar

      As discussed at length above, defendants have not come close to meeting

their burden for showing that they are entitled to have the judgment vacated.


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Accordingly, the default judgment should stand. Because the judgment should not

be vacated, the case should not be reopened and there is nothing to restore to the

Trial Calendar.


          ii. In the Alternative, Consolidation is Not Proper because there are No
              Common Questions of Fact or Law


          In the event that the Court finds it would be proper to vacate the judgment—

which it should not—consolidation is still not proper. Consolidation is proper only

where two or more actions “involving a common question of law or fact arising out of

the same transaction or series of transactions are pending in the Superior Court.”

N.J. Court Rules, R. 4:38-1. Here, the two actions—the present case and

Gruenbaum v. Ackerman, docket no. BER-L-003841-211—do not involve common

questions of law or fact and do not arise out of the same transaction.


          In the present case, plaintiffs hired defendants to “handle all the Practice’s

accounting and tax needs, including, but not limited to, preparing, and timely filing

all federal and state tax returns, handling its payroll taxes, maintaining its

QuickBooks, and preparing quarterly profit and loss statements.” Compl. ¶¶ 19, 24.

In Gruenbaum v. Ackerman, plaintiffs assert claims against entirely different

defendants who were hired to provide business management consulting services,

including “provid[ing] plaintiffs with expert guidance on a variety of issues,

including finances and marketing, team structure, clinical protocols, business

decisions and protocols, insurance billing and practices, and case acceptance


1   A true and correct copy of the Ackerman complaint is attached hereto as Exhibit “A”.

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systems.” Ackerman Compl. ¶ 20, 29. The defendants in each case, thus, were

hired to provide entirely different services and take entirely different actions.


      Moreover, the wrongful conduct of the defendants, and accordingly the

damages flowing therefrom, occurred in separate and distinct transactions. In the

present case, the Levine defendants, among other things, botched Dr. Gruenbaum’s

personal 2019 tax returns, made egregious mistakes in connection with the

Practice’s 2019 taxes, failed to file IRS Form 941s, and failed to accurately report

the Practice’s employment tax liability to the State of New Jersey. Compl. ¶¶ 35,

37, 38, 40. In the Ackerman case, the Ackerman defendants, among other things,

botched the Practices’ insurance participation, retroactively modified insurance

billing entries, deleted the Practice’s insurance billing archive, harassed and abused

employees of the Practice, and caused significant patient attrition by

communicating with patients in an aggressive manner. Ackerman Compl. ¶¶ 31,

33, 36, 47, 52. In short, the Levine defendants’ wrongful conduct is irrelevant to the

Ackerman defendants’ wrongful conduct and vice versa.


      Defendants’ assertion—without explanation—that that the two cases are

“premised on the same nucleus of operative facts” is simply untrue. The only

overlap between the cases, which defendants place undue emphasis on, is that Ms.

Ackerman is the individual who recommended that plaintiffs retain Mr. Levine.

This single fact is simply insufficient to support consolidating the cases in light of

the myriad of factual differences.




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      In sum, there is no basis for consolidating the cases as there are no common

issues of law or fact and the actions giving rise to the respective lawsuits were not

part of the same transaction or occurrence. Consolidating the cases would serve no

purpose and would unduly confuse a jury. See Castro v. Guerra, 2018 N.J. Super.

Unpub. LEXIS 7033, at *11 (Bergen Cty. Super. Sept. 15, 2018) (denying a motion

to consolidate where doing so would unduly confuse the jury and the matters did not

involve common questions of fact and law). As such, defendants’ request for “other

relief” in the form of consolidating the cases should be denied.


IV. CONCLUSION

      For the reasons set forth above, plaintiffs respectfully request that the

Motion to Vacate Default and Other Relief be denied. Defendants have not met

their burden for showing that their neglect was excusable under the circumstances

or that they have any meritorious defenses. Because the question of prejudice is

only reached after a showing of entitlement to have the judgment vacated, the

Court need not consider whether plaintiffs will be prejudiced if the Motion is

granted.


      The portion of the Motion which requests the Court consolidate this case with

an unrelated matter fails because the default judgment should not be vacated and,

thus, there is nothing to consolidate. In the alternative, if the Court decides to

vacate the judgment, consolidation is still not proper because the cases involve

entirely different parties and are premised on entirely different facts.



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                                            Respectfully submitted,

Dated: September 15, 2021                   BRAVERMAN KASKEY GARBER PC

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               Exhibit A
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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Shanalee Ackerman and
  Ackerman Practice Management, LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:             Shanalee Ackerman
Address of Defendant to Be Served: 1775             ork Ave., #32A, ew ork,                  10128



Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Shanalee Ackerman and
  Ackerman Practice Management, LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:             Ackerman Practice Management LLC c/o Shanalee Ackerman
Address of Defendant to Be Served: 1775             ork Ave., #32A, ew ork,                  10128



Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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                        Civil Case Information Statement
Case Details: BERGEN | Civil Part Docket# L-003841-21

Case Caption: GRUENBAUM TAMAR VS ACKERMAN                        Case Type: CONTRACT/COMMERCIAL TRANSACTION
SHANALEE                                                         Document Type: NJ eCourts Case Initiation Confirmation
Case Initiation Date: 06/14/2021                                 Jury Demand: YES - 12 JURORS
Attorney Name: BENJAMIN ALEX GARBER                              Is this a professional malpractice case? NO
Firm Name: BRAVERMAN KASKEY PC                                   Related cases pending: NO
Address: 1650 MARKET STREET 56TH FL ONE LIBERTY                  If yes, list docket numbers:
PLACE                                                            Do you anticipate adding any parties (arising out of same
PHILADELPHIA PA 191037334                                        transaction or occurrence)? NO
Phone: 2155753800
Name of Party: PLAINTIFF : Gruenbaum, Tamar                      Are sexual abuse claims alleged by: Tamar Gruenbaum? NO

Name of Defendant’s Primary Insurance Company
(if known): Unknown                                              Are sexual abuse claims alleged by: Tamar Gruenbaum DDS, LLC?
                                                                 NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Business
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

06/14/2021                                                                                 /s/ BENJAMIN ALEX GARBER
Dated                                                                                                         Signed
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                   Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                 SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                    JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                      BERGEN COUNTY
  385 S Maple Ave, #107
  Glen Rock, NJ 07452                       Docket No. ___________
                    Plaintiffs,
                                            COMPLAINT AND JURY DEMAND
               v.                           DESIGNATION OF TRIAL
                                            COUNSEL, AND CERTIFICATIONS
  SHANALEE ACKERMAN                         UNDER RULES 1:38-7(b) and 4:5-1
  1775 York Avenue, #32A
  New York, NY 10128; and

  ACKERMAN PRACTICE
  MANAGEMENT, LLC,
  13867 Jeremiah Road
  Jacksonville, FL 32224,
                    Defendants.

      Plaintiffs Tamar Gruenbaum, DDS (“Dr. Gruenbaum”) and Tamar

Gruenbaum DDS, LLC d/b/a Ridgewood Valley Pediatric Dentistry (the “Practice”),

by and through their undersigned counsel, brings this Complaint against

defendants Shanalee Ackerman (“Ackerman”) and Ackerman Practice Management,

LLC (“APM”), as follows:




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                           PRELIMINARY STATEMENT

      1.     Dr. Gruenbaum is the owner of a local pediatric dental practice. This

action arises from defendants’ fraud, breaches of contract, and other unlawful

conduct perpetrated against plaintiffs in connection with a services contract (the

“Agreement”), pursuant to which, inter alia, defendants agreed to provide

management and consulting related services to plaintiffs.

      2.     Specifically, pursuant to the Agreement and otherwise, defendants

were required to provide expert guidance on a variety of issues including, without

limitation, Practice finances and marketing, team structure, clinical protocols,

business decisions and protocols, insurance billing and practices, and case

acceptance systems.

      3.     As alleged herein, Ackerman first procured the Agreement through

fraud by misrepresenting her and APM’s credentials and expertise to Dr.

Gruenbaum, and then failed to provide the services required under the Agreement

and breached their common law obligations owed to plaintiffs.

      4.     Defendants’ acts and omissions, as alleged herein, have, and continue

to cause substantial financial harm to plaintiffs and give rise to the claims asserted

herein for breach of contract, breach of fiduciary duty, fraud, conversion, and unjust

enrichment, among others.




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                                      PARTIES

      5.     Dr. Gruenbaum is an adult individual with a business address of 385

S. Maple Avenue, #107, Glen Rock, New Jersey 07452.

      6.     Tamar Gruenbaum DDS, LLC, d/b/a Ridgewood Valley Pediatric

Dentistry is a New Jersey limited liability company with an address of 385 S. Maple

Avenue, #107, Glen Rock, New Jersey 07452.

      7.     Ackerman is an adult individual with an address at 1775 York Avenue,

#32A, New York, New York 10128.

      8.     Upon information and belief, Ackerman also has an address of 104

West Oak Highway, Westminster, Fl 29697.

      9.     APM is a Florida corporation with a registered address of 13867

Jeremiah Road, Jacksonville, FL 32224.

      10.    At all times material hereto, Ackerman has been a shareholder, officer,

director, principal, and agent of APM.

                             JURISDICTION AND VENUE

      11.    This Court has subject matter jurisdiction over this action pursuant to

N.J. Const. Art. VI § III.

      12.    This Court has personal jurisdiction over all of the parties, as each

party resides in, conducts business in or has its principal place of business in New

Jersey, and the actions described herein occurred in New Jersey.

      13.    Venue is appropriate in this Court pursuant to NJ Court Rules 4:3-

1(a)(5) and 4:3-2(a).



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                                        FACTS

                                     Background

      14.    Dr. Gruenbaum grew up in Teaneck, New Jersey and earned her

D.D.S. from Columbia University College of Dental Medicine.

      15.    Dr. Gruenbaum completed a general practice residency at Montefiore

Medical Center in Bronx, New York.

      16.    Dr. Gruenbaum did her post-graduate training in pediatric dentistry at

Maimonides Medical Center in Brooklyn, New York, where she served as chief

resident during her second year.

      17.    Dr. Gruenbaum is a member of the AAPD and is board certified by the

American Board of Pediatric Dentistry.

      18.    Dr. Gruenbaum is the owner of the Practice, which provides

comprehensive dental care to children from infancy through their teenage years.

      19.    Dr. Tamar Gruenbaum, DDS, owns dental practice Tamar Gruenbaum

DDS, LLC, d/b/a Ridgewood Valley Pediatric Dentistry.

      20.    Ackerman holds herself out as an expert business consultant in the

healthcare arena.

      21.    Ackerman is believed to be the Founder and CEO of APM.

      22.    In 2017, plaintiffs retained defendants to provide management and

consulting related services.

      23.    As part of plaintiffs’ retention of defendants’ services, the parties




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entered into a services contract—i.e., the Agreement. 1

                        Defendants’ Fraud and Unlawful Conduct

         24.   Plaintiff retained defendants based upon Ackerman’s representations

touting her skills, acumen, credentials, qualifications, and abilities as an expert

business consultant in the healthcare arena.

         25.   Ackerman also misrepresented the credentials, qualifications, and

abilities of APM.

         26.   Ackerman represented that APM was a successful ongoing business

when, in reality, it was not even registered as an active company with the State of

New York during her engagement with the Practice.

         27.   Ackerman misrepresented to Dr. Gruenbaum her successes improving

dental practices like Dr. Gruenbaum’s practice.

         28.   The Agreement required defendants to provide services to plaintiffs in

exchange for compensation.

         29.   Among other things, pursuant to the Agreement, defendants were

required to, inter alia, provide plaintiffs with expert guidance on a variety of issues,

including finances and marketing, team structure, clinical protocols, business

decisions and protocols, insurance billing and practices, and case acceptance

systems.




1Despite diligent inquiry, plaintiffs are not presently in possession of an executed copy of the
Agreement. By letter dated May 13, 2021, plaintiffs made demand upon defendants for a copy of the
same. As of the filing of this Complaint, defendants have not responded to plaintiffs’ letter or
demand for the Agreement.

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      30.    Defendants, however, failed to provide the services required under the

Agreement and to act in accordance with their common law obligations to plaintiffs.

      31.    Ackerman exceeded the scope of her engagement by botching the

Practice’s insurance participation and insurance billing protocols.

      32.    Ackerman indicated in insurance billing entries, and instructed others

to also indicate, that the Practice was in-network with Delta Dental PPO.

      33.    Ackerman retroactively modified numerous insurance billing entries

dated between February 2018 and March 2018 to reflect Delta Dental PPO

coverage.

      34.    Ackerman knew, should have known, or recklessly ignored that the

Practice’s contract was with Delta Dental’s Premier coverage only—not PPO.

      35.    Ackerman also incorrectly entered Aetna insurance billing codes.

      36.    Realizing her mistake and attempting to cover it up, Ackerman gained

access to the Practice’s billing software without authorization and deleted the entire

archive.

      37.    As a result of her insurance and billing related indiscretions,

Ackerman caused the practice to incur substantial monetary losses.

      38.    Ackerman was required to collaborate with Dr. Gruenbaum and guide

her in decision-making pertaining to the Practice. However, Ackerman failed to do

so.

      39.    Instead, Ackerman took actions that were beyond the scope of the

Agreement and/or without Dr. Gruenbaum’s authorization.



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      40.    Ackerman duped Dr. Gruenbaum into changing the Practice’s third-

party vendors to those of her recommendation claiming that the Practice would gain

additional value by switching to her recommended vendors.

      41.    Based on Ackerman’s recommendations and false representations, Dr.

Gruenbaum agreed to change vendors for accounting and tax services, technology

services, and insurance negotiation services.

      42.    Ackerman recommended these vendors despite having knowledge of

their incompetence.

      43.    Ackerman recommended these vendors for the purposes of her own

financial benefit.

      44.    One of the most egregious examples being Ackerman’s

recommendation of an accounting firm, Levine & Associates LLC, whose services

were deficient and have resulted in IRS scrutiny and in connection with which

plaintiffs have suffered financial losses, fees, costs, expenses, and penalties.

      45.    Ackerman was required to engage in an appropriate level of

interaction with Practice staff for training and team building purposes. Ackerman

entirely failed to interact with them appropriately.

      46.    During onsite visits, Ackerman did not make herself available to

Practice staff and instead did work for and took phone calls from other clients.

      47.    Ackerman also harassed and abused staff, exposing the Practice to

employment related claims.




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      48.    Ackerman exaggerated her position of authority in the Practice to third

parties. This included representing herself as “Practice Manager”.

      49.    Ackerman illicitly gained access to confidential information of the

Practice.

      50.    She established herself as a provider in the Practice’s insurance billing

system, obtained access to business and personal credit cards and bank accounts,

and obtained keys to the office and to the security camera system. Ackerman had

no authority to undertake any such action.

      51.    Ackerman failed to appropriately monitor billing and to timely collect

outstanding balances.

      52.    When Ackerman did set out to collect outstanding balances, her

conduct was aggressive and off-putting, causing significant patient attrition.

      53.    Ackerman caused Dr. Gruenbaum to sign up for the review system

“BirdEye” which Dr. Gruenbaum paid for only to subsequently learn that the

Practice had never actually been signed up by Ackerman and instead she had been

paying for the service for one of Ackerman’s other clients.

      54.    Because of defendants’ actions, the Practice’s performance declined

substantially, revenues decreased, overheard and other costs increased, and

plaintiffs incurred unnecessary financial losses.

      55.    Defendants failed to enhance the Practice’s business and did nothing to

help market the Practice.




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      56.    As a result of defendants’ acts and omissions, plaintiffs have suffered

emotional distress and substantial monetary harm, including lost profits, loss of

goodwill, and out-of-pocket expenses, fees, and costs.

      57.    Defendants have been unjustly enriched, having received not less than

approximately $70,000 in connection with the Agreement.

                                     COUNT I
                                BREACH OF CONTRACT

      58.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      59.    Plaintiffs and defendants are parties to a valid and enforceable

contract, i.e., the Agreement.

      60.    Plaintiffs have performed under the Agreement.

      61.    By doing the things alleged herein, defendants have materially

breached his Agreement.

      62.    As a direct, proximate, and foreseeable result of defendants’ breaches

of contract, plaintiffs have suffered, and will continue to suffer, substantial damages

in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                               COUNT II
                 BREACH OF GOOD FAITH AND FAIR DEALING

      63.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.




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       64.    By doing the things alleged herein, defendants have breached the duty

of good faith and fair dealing owed to plaintiffs.

       65.    As a direct, proximate, and foreseeable result of defendants’ breaches

of good faith and fair dealing, plaintiffs have suffered, and will continue to suffer,

substantial damages in an amount to be determined at trial.

       WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                   COUNT III
                           BREACH OF FIDUCIARY DUTY

       66.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

       67.    Under New Jersey law, a fiduciary relationship exists when one party

is under a duty to act for or give advice for the benefit of another on matters within

the scope of their relationship.

       68.    By virtue of the parties’ relationship, defendants owed fiduciary duties

to the plaintiffs.

       69.    By doing the things alleged herein, defendants have breached their

fiduciary duties of care and loyalty to plaintiffs.

       70.    As a direct, proximate, and foreseeable result of defendants’ breaches

of fiduciary duty, plaintiffs have suffered, and will continue to suffer, substantial

damages in an amount to be determined at trial.

       WHEREFORE, plaintiffs pray for relief as more fully set forth below.




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                                    COUNT IV
                                   CONVERSION

      71.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      72.    By doing the things alleged herein, defendants converted the time,

money, resources, and other assets of the plaintiffs without privilege or

authorization and for their own improper purposes.

      73.    As a direct, proximate, and foreseeable result of defendants’

conversion, plaintiffs have suffered, and will continue to suffer, substantial

damages in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                     COUNT V
                                UNJUST ENRICHMENT

      74.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      75.    Defendants have and continue to benefit from their receipt of the

benefits and other compensation paid to them by the plaintiffs.

      76.    Defendants’ retention of said benefits constitutes unjust enrichment.

      77.    Accordingly, the Court should require defendants to return the benefits

bestowed upon them by the plaintiffs to the plaintiffs.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.




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                                COUNT VI
                     FRAUD/FRAUDULENT CONCEALMENT

        78.   Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

        79.   Defendants knowingly misrepresented the truth and/or concealed

material facts to induce plaintiffs to act to their detriment.

        80.   As alleged herein, defendants misrepresented to Dr. Gruenbaum that

Ackerman was a qualified, experienced, competent, and diligent professional.

        81.   Reasonably relying on these misrepresentations, plaintiffs retained

defendants’ services.

        82.   Reasonably relying on these misrepresentations, plaintiffs retained

entered into the Agreement.

        83.   Additionally, defendants knowingly and intentionally concealed their

misconduct from plaintiffs for purposes of preventing them from uncovering the

truth of the same and continuing to reap the benefits that plaintiffs bestowed upon

them.

        84.   As a direct, proximate, and foreseeable result of defendants’ fraud and

fraudulent concealment, plaintiffs have suffered, and will continue to suffer,

substantial damages in an amount to be determined at trial.

        WHEREFORE, plaintiffs pray for relief as more fully set forth below.




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                                     COUNT VII
                                    NEGLIGENCE

      85.     Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      86.     Defendants owed plaintiffs a duty of care as an alleged healthcare

consultant.

      87.     By doing the things alleged herein, defendants breached their duty of

care, acted negligently, and otherwise deviated from the acceptable professional

standards attendant to an alleged healthcare consultant.

      88.     As a direct, proximate, and foreseeable result of defendants’

negligence, plaintiffs have suffered, and will continue to suffer, substantial damages

in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                PRAYER FOR RELIEF

      WHEREFORE, plaintiffs demand judgment against defendants as follows:

      (i)     compensatory and consequential damages in an amount to be

              determined at trial, against defendants, individually and/or jointly and

              severally as appropriate;

      (ii)    punitive damages;

      (iii)   reasonable attorney’s fees and costs;

      (iv)    pre- and post-judgment interest at the highest legal rate; and




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      (v)    for such other and further relief as the Court may deem equitable, just,

             and proper, including the award of costs and expenses incurred by

             plaintiffs in this action.

                                   JURY DEMAND

      Plaintiffs demand trial by a jury of twelve on all of the triable issues of this

Complaint, pursuant to NJ Court Rules 1:8-2(b) and 4:35-1(a).

                       DESIGNATION OF TRIAL COUNSEL

      Pursuant to NJ Court Rule 4:25-4, plaintiffs hereby designate Benjamin A.

Garber, Esq. as trial counsel in this matter.




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                                  CERTIFICATIONS

      The undersigned hereby certifies that the matter in controversy is not the

subject of any other action pending in any Court or arbitration proceeding and no

other Court action or arbitration proceeding is contemplated. There is presently

pending one other action, at Docket No. C-154-19, in which one or more of the

parties to this action assert matters other than the matter in controversy herein.

      Other than the parties set forth in this complaint, I know of no other parties

that should be made a part of this lawsuit. I recognize my continuing obligation to

file and serve on all parties and the court an amended certification if there is a

change in the facts stated in this original certification.

      I certify that confidential personal identifiers have been redacted from

documents now submitted to the court and will be redacted from all documents

submitted in the future in accordance with Rule 1:38-7(b).

                                                Respectfully submitted,

Dated: June 14, 2021                            BRAVERMAN KASKEY GARBER PC

                                            BY: /s/ Benjamin A. Garber
                                               BENJAMIN A. GARBER, ESQUIRE
                                               One Liberty Place- 56th Floor
                                               1650 Market Street
                                               Philadelphia, Pennsylvania 19103
                                               Telephone: (215) 575-3800
                                               Facsimile: (215) 575-3801
                                                Attorneys for Plaintiffs




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  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                   JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                     BERGEN COUNTY

                    Plaintiffs,            Docket No. BER-L -003840-2021

               v.                          CIVIL ACTION

  JOSH LEVINE, CPA; JOSH LEVINE
  CPA P.C. d/b/a LEVINE &
  ASSOCIATES; and EHCM LLC,

                    Defendants.

                                    ORDER

      AND NOW, this ____ day of ____________, 2021, upon consideration of the

Motion to Vacate Judgment Default and Other Relief and the response in opposition

thereto, it is hereby ORDERED that the motion is DENIED.


                                               BY THE COURT:

                                                _________________________
                                                                       , J.
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  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                    SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                       JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                         BERGEN COUNTY

                     Plaintiffs,               Docket No. BER-L-003840-21

                v.

  JOSH LEVINE, CPA
  and
  JOSH LEVINE CPA P.C. d/b/a LEVINE
  & ASSOCIATES,
  and
  EHCM LLC,

                     Defendants.

                          CERTIFICATION OF SERVICE

      I hereby certify that on the date below, a true and correct copy of the

foregoing Memorandum of Law by Plaintiffs in Response to Defendants’ Motion To

Vacate Default and Other Relief was electronically filed and served via the Court’s ,

electronic filing system upon the following:

                           Baruch S. Gottesman, Esquire
                              185-12 Union Turnpike
                          Fresh Meadows, New York 11366
                              bg@gottesmanlegal.com
                              Attorneys for Defendants
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      I hereby certify that the foregoing statements made by me are true. I am

aware that if any of the foregoing statements made by me are willfully false, I am

subject to punishment.



                                             Respectfully submitted,

Dated: September 15, 2021                    BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
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                                             1650 Market Street
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